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             23-589
                                IN THE

   United States Court of Appeals
       for the Second Circuit
               ___________________________________________


                MICHAEL DAVIS-GUIDER,
                       Plaintiff-Appellant,

                             – v. –

   CITY OF TROY, RONALD FOUNTAIN, INDIVIDUALLY,
         DANIELLE COONRADT, INDIVIDUALLY,
         CHARLES MCDONALD, INDIVIDUALLY,
            TIM COLANERI, INDIVIDUALLY,
 Defendants-Cross-Claimants-Counter-Claimants-Appellees,

               RENSSELAER COUNTY,
           MICHAEL SIKIRICA, INDIVIDUALLY,
 Defendants-Cross-Claimants-Counter-Claimants-Appellees.

              _________________________________________

      On Appeal from the United States District Court
          for the Northern District of New York
             Case No. 1:17-cv-1290 (FJS/DJS)



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      1

      2   STATE OF NEW YORK                        COUNTY COURT
          COUNTY OF RENSSELAER                     CRIMINAL TERM
      3   *************************************************
          THE PEOPLE OF THE STATE OF NEW YORK,
      4
          - against      -                             15-1094
      5
          MICHAEL DAVIS,
      6
                                   Defendant.
      7   *************************************************
                                   Rensselaer       County Courthouse
      8                            Congress      and Second Streets
                                   Troy, New York         12180
      9                            August     25, 2016
     10                         Trial.   -   Vol.ume   7

     11   Before:
     12             HONORABLEANDREWG. CERESIA,
                                    County Court                 Judge
     13

     14   A p p e a r a n c e s:

     15   For   THE PEOPLE OF THE STATE OF NEW YORK:
     16         JOEL E. ABELOVE, ESQ.
                Rensselaer    County District   Attorney
     17         Rensselaer    County Courthouse
                Congress   and Second Streets
     18         Troy, New York 12180
     19         BY:     CINDY CHAVKIN, ESQ.
                        Assistant District  Attorney
     20

     21   For       DEFENDANT:
     22         JOHN C. TURI, ESQ.
                Rensselaer    County Public   Defender
     23         Congress   and Second Streets
                Troy, New York 12180
-~   24
                BY:     WILLIAM ROBERTS, ESQ. and
     25                 JESSICA ZWICKLBAUER, ESQ.
                        Assistant Public Defenders

                             Cheryl M. Moore, Senior Court Reporter
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 1   People v. Michael Davis

 2                            Thank        you.

 3                             (Whereupon,              the       deliberating                   jury

 4                  exited        the     courtroom               to    resume

 5                  deliberations.)

 6                            THE COURT:                Any exceptions                     to     the     read

 7                  back      from       the      People?

 8                            MS. CHAVKIN:                 No,         your     Honor.

 9                            THE COURT:                From the              defense?

10                            MR. ROBERTS:                 No,         your     Honor.

11                            THE COURT:                Okay.           The Court                will     stand

12                  in     recess.

13                            Thank        you.

14                             {Whereupon,              a recess          was taken                 awaiting

15                  further          communication                 from        the        deliberating

16                  jury.     )

17                             ( In open          court.      )

18                             {Jury       Note        was marked              Court's            Exhibit

19                  4.)

20                            THE COURT:                Please          be seated.

21                            Were there               any members              of the            media       who

22                  sought        audio/visual                coverage               of    the

23                  recording            of      the   verdict?                No.         Okay.         We

24                  will      proceed.

25                            All       right.          The Court              is     in     receipt          of


                            Cheryl M. Moore, Senior Court Reporter
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     1   People v. Michael Davis

     2                  a note           from        the     jury.              The note            has      been

     3                  marked           Court's            Exhibit             4.      Copies          of       the

     4                  note       have         been        provided             to     the        attorneys.

     5                  The note            indicates               that         the        jury      has        reached

     6                  a verdict.

     7                             It     will         be the            Court's             intention             at

     8                  this       time         to     bring        the         jury        back      into        court

     9                  and     record           the        verdict.

    10                             People            okay         with         that?

    11                             MS. CHAVKIN:                         Yes,         your     Honor.

    12                             THE COURT:                     Defense             okay     with         that?
~
    13                             MR. ROBERTS:                      Absolutely,                   your      Honor.

    14                             THE COURT:                     Okay.           We'll        bring         the        jury

    15                  back       in,      please.

    16                             (Whereupon,                    the     deliberating                    jury

    17                  entered           the        courtroom.)

    18                             THE COURT:                     Okay.              Please        be seated.

    19                             Members             of     the        Jury,         the     Court         is        in

    20                  receipt           of     your        note.              The note            has      been

    21                  marked           Court's            Exhibit             4.      The note

    22                  indicates               that        the      jury        has        reached          a

    23                  verdict.

    24                             I will            ask      the        Foreperson,                 sir,        is     that

    25                  correct?


                               Cheryl M. Moore, Senior Court Reporter
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          1   People v. Michael Davis

          2                             FOREPERSON OF THE JURY:                                     That's

          3                  correct,               your    Honor.

          4                             THE COURT:                 Okay.              If    you would                 please

          5                  hand       the     verdict            sheet         up to            the     Court         for

          6                  my review.

          7                             Thank          you.

          8                             (Whereupon,                a pause             ensued.)

          9                             THE COURT:                 Okay.          At this                time         the

         10                  Court       will          hand       the      verdict               sheet      back        to

         11                  the      Foreperson.                  I ask         the        Foreperson                 to

         12                  please           stand.          I will            ask        the     Defendant                 and

         13                  his      attorneys             to     rise         and please                face         the

         14                  jury.            I will        ask         that     the        Court         Clerk         to

         15                  record           the      verdict.

         16                             CLERK OF THE COURT:                                Has the           jury

         17                  reached           a verdict?

         18                             FOREPERSON OF THE JURY:                                     Yes,         it    has.

         19                             CLERK OF THE COURT:                                Is     your       verdict

         20                  unanimous?

         21                             PROSPECTIVE JUROR:                             Yes,         it     is.

         22                             CLERK OF THE COURT:                                In the         matter             of

         23                  the      People           of   the         State     of New York                     versus

         24                  Michael           Davis,         Indictment                   Number         15-1094,                as
.r-'1\
         25                  to    Count        One,        Manslaughter                    in     the      First


                                     Cheryl M. Moore, Senior Court Reporter
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 2                  Degree,      in    violation              of    Penal        Law Section

 3                  125.20(4),         how do you find;                       guilty          or    not

 4                  guilty?

 5                            FOREPERSON OF THE JURY:                            Not guilty.

 6                            CLERK OF THE COURT:                        Is    this      verdict

 7                  unanimous?

 8                            FOREPERSON OF THE JURY:                            It     is.

 9                            CLERK OF THE COURT:                        As to         Count        Two,

10                  Manslaughter            in      the    Second         Degree,             in

11                  violation         of    Penal         Law Section              125.15(1),

12                  how do find            guilty         or not         guilty?

13                            FOREPERSON OF THE JURY:                            Not guilty.

14                            CLERK OF THE COURT:                        Is    this      verdict

15                  unanimous?

16                            FOREPERSON OF THE JURY:                            Yes.

17                            THE COURT:             As to         the    Count         Three,

18                  Endangering            the      Welfare         of    a Child,             in

19                  violation         of    Penal         Law Section              260.10(1),

20                  how do you find;                 guilty         or not         guilty?

21                            FOREPERSON OF THE JURY:                            Not     guilty.

22                            CLERK OF THE COURT:                        Is    this      verdict

23                  unanimous?

24                            FOREPERSON OF THE JURY:                            Yes.

25                            CLERK OF THE COURT:                        Members         of        the


                        Cheryl M. Moore, Senior Court Reporter
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      1   People v. Michael Davis

      2                  Jury,         harken           to    your         verdict            as     recorded                    by

      3                  this         Court,        as       to     Count         One,        Manslaughter                        in

      4                  the      First         Degree,             you say             you     find            the

      5                  Defendant              not      guilty;            as     to     Count            Two,

      6                  Manslaughter                   in    the       Second           Degree,                you say

      7                  you find             the       Defendant             not        guilty;                as     to

      8                  Count         Three,           Endangering                the        Welfare                 of     a

      9                  Child,           you say            you     find         the     Defendant                    not

     10                  guilty.

     11                               So say          you all?

     12                               (Whereupon,                 the      jury         answered
.~
     13                  collectively                   in    the       affirmative.)

     14                               THE COURT:                  Do the           People           wish         the         jury

     15                  polled?

     16                               MS.      CHAVKIN:              No,      your         Honor,               that's

     17                  okay.

     18                               THE COURT:                  Okay.           The Defendant                        and

     19                  his     attorneys               may be seated.

     20                               All      right.             Members           of     the        Jury,            at

     21                  this         time      I would             like      to     take           this

     22                  opportunity                to       publicly             thank        you         for         the

     23                  service             that       you have            given         to        us.          The

     24                  sacrifice              that         you all         made over                    the        course

     25                  of     the     last        couple           of weeks,                all         the        time


                                Cheryl M. Moore, Senior Court Reporter
        CONTROL#    _020320-15
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                                                                                                     1668
                                                                      HOME _347-659-4396

                                                                           WORK__       _

        DEPOSITION OF A WITNESS                                                        COURT
       STATEOFNEW YORK
       COUNTYOF RENSSELAER
       CITY OF TROY

       NAME RebecccaA. Parker_____                DATEOF BIRTH---
       RESIDING AT _8564     th
                                  Avenue Troy NY 12182 __   AGE_22 ____            _

       OCCUPATION_Clerk           Stewarts Glen and 61h Avenue Troy NY__________                 _
       DEPOSE AND SAY:
·i,. f?.·-+I would like to state that I am the mother of ~V           D-her      date of birth was
                     . I would like to state that l currently reside with my boyfriend Michael Davis
                       and my daughter. We have been here for approximately 9 months. We used
         to live in NYC. ~father         is Clarence Davis who resides in NYC presently. I was a
         victim of domestic violence from him and so was my daughter from him.
          On February 26 th 2015 I was home with my daughter and my boyfriend. I got up at
        about 7:45 AM . I got ready for work. I work at Stewarts at Glen and Sixth Avenue in
        Troy New York. My boyfriend got up and went into my daughter's room. He went in to
        take her to the bathroom. I saw her in the hallway heading to the bathroom I told her I
        loved her and I see her when I came home from work. I left my house and took the bus to
       work. I worked to about 1 P.M. A friend of mine by the name of Russell Brown took me
       home. I just happen to look at my phone when we arrived at my apartment. It was 1:23
       P.M I went 1!'!tomy apartment and saw my daughter lying face up on the black futon in
       my apartment She was lying on her back with what looked like to me to be her leg
       hanging off. I really wasn't to concerned She,~            sleeps in funny positions. I grabbed
       some checks to show Mr. Brown that had been cashed in my account that were
      fraudulent. I thought it was funny that Mike was not there. I walked outside and was
      talking to Mr. Brown when Mike came out ofTesto Restaurant. He said to me "Call 91 I"
      He looked upset. He said 911 He said       ca    is not breathing. I ran into the apartment and
      went to my daughter I was calling 911. Mike was right behind me. He said he tried going
      to the neighbors but no one was home/. I was on phone when the Fire Department
      arrived. I told them to hurry up. So did Mike. Three or four of them came in and began
      working on my daughter. At one point one of them said they had something .. I saw a blip
      on one of the screen in a machine. They took ~ out to the ambulance. They wouldn't
     let me go to the hospital with my daughter. Mike told them I was her mother but they left
     without me. I went with the Police Officer to the Troy Police Station Mike came there to.
      At the Station I was told my daughter had passed away. I told the Detectives what I
     knew of what happened. I left and went to St Mary's Hospital. I then returned to the
     Police Department after I saw my daughter at the hospital
     After a few hours, I left with Mike and went home.
       Since that time Mike and I have talked. He told me he said after I left that morning He
     put ca on the toilet. He told me he asked if she was hungry She told him no He told me
    FALSESTATEMENTSMADE HEREIN ARE PUNISHABLEAS A CLASS"A" MISDEMEANORPURSUANTTO SECTION
                                                                                         f...
    210.45OFTHE PENAL LAW OF THE STATEOF NEW YORK.


                                  TIME:d.!08f"s1GNED:  ~~
           ~~                                    -----
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                                                                      WORK __    _

   DEPOSITION OF A WITNESS                                                      COURT
   ST ATE OF NEW YORK
   COUNTYOF RENSSELAER
  CITY OF TROY

  NAME Rebeccca A. Parker____              DATE OF BIRTH--
  RESIDINGAT _856 4th AvenueTroy NY 12l82 _          AGE_22
                                                              -----
  OCCUPATION_Clerk          StewartsGlen and 6'h AvenueTroy NY__________                 _
  DEPOSEAND SAY:
    he gave her bottle but she really wasn't drinking it He said he then sent her back to bed.
    He told me he watched a movie. He told me he had fallen asleep. He woke up around
    11:00 A.M. He told me it could have been 12 He didn't look at a clock. He called for her
    but she didn't answer. He went into her bedroom. He said she was not moving in her bed.
    He said he listen for breathing but didn't hear any. He began CPR. He told me he really
   didn't know how but saw movies about it. He had some CPR training in college too. He
   then took her to the living room and put her down on the black futon couch. The same
   one I saw her on when I came home. He said he tried cpr again. He got no reaction. He
   said he ran out after trying to get his phone to call 911. He couldn't get it working. He
   went to the neighbor house and they were not home or didn't answer. Mike said he then
   ran across the street to Testo's Restaurant and asked to call 911 centers. The 911 asked
   him a lot of questions. He came outside and saw me and told me.
    Mike and I have been crying over this all weekend, Mike told me he thought he might
  have hurt ~rying         to do cpr. We were told by Detective Fountain that '1111,s ribs
  were broke. Mike thought maybe his hands had done it because his hands were so big.
    On March 3rd 2015 at about noon I came to the tro Police Department with Mike and
~other         Nancy Parker o                                       ew York New York 917-
-         I met with Detectives Fountain and McDonald. I spoke to Detective Sergeant
  Parrow at that time He asked my to recount my day of my daughters death and her
  conditions prior to her death.
  I told Sergeant Parrow my daughter was a health and active child. The day of the death
 she was a little sluggish. 1 attributed this to her just getting up in the morning. I told
 Sergeant Parrow that~          had a cold a couple of weeks prior and was treated with over
 the counter medication. I had not given her any medince in a few days. I told him that
 ~ has a Nurse Practitioner in New York It is at Westside Pediatric Care 86th and
Central Park West New York NY. End of Statement. -~ .(?.




FALSESTATEMENTSMADEHEREINARE PUNISHABLEAS A CLASS"A" MISDEMEANORPURSUANTTO
                                                                           SECTION
210.45OFTHEPENALLAW OF THE STATEOFNEWYORK.


                                        IGNED:              J)~


WITNESS

                        •       ~ c.r87J'
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 1

 2

 3

 4

 5

 6

 7
                    Troy Police Department Interview of
 8
                          MICHAEL DAVIS
 9

10                         March 2, 2015
11

12

13

14

15

16

17

18

19

2o   By Detective Ronald Fountain
21

22

23

24

25
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 1   Michael Davis Interview, 3-2-15

 2                            DETECTIVE                             FOUNTAIN:                                Do           you

 3                  know           how          hard                you             were               pushing?

 4                            MR.          DAVIS:                            I      really                   wasn't

 5                  sure           'cause                      I    was             like               kinda

 6                  panicking.                                 So        I       don't                 really

 7                  think             I        was          pushing                        like

 8                  extremely                        hard,                   but           I      know                I        was

 9                  just           going                  like               this              on           her           chest

10                  trying                to         like                get          her              to         wake

11                  up.

12                            DETECTIVE                             FOUNTAIN:                                Now           was

13                  it       the          top             of        her             chest?                        I       mean,

14                  your           hands                  probably                         covered                        her

15                  whole

16                            MR.              DAVIS                         Yeah,                it         was           like

17

18                            DETECTIVE                             FOUNTAIN:                                             from

19                  her        belly                 to            her           chest.

20                            MR.          DAVIS:                            Yeah,                it         was           like

21                  my       hand's                  like                near              the              top           of

22                  her        chest

23                            DETECTIVE                             FOUNTAIN                                 Okay.

24                            MR.          DAVIS:                            And           my          bottom                   of

25                  my       hand              be         like               her           stomach                        or
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 1   Michael Davis Interview, 3-2-15

 2                  time,            I        had              to       go          in          there.                        I

 3                  called               her,                  I      could                   hear              her           like

 4                  moving               in          her              bed,               so          I       go        in

 5                  there            and             I         say,            "Ola,                     just               get

 6                  up,"           and          she                 would                get             up         off           the

 7                  bed       and             come

 8                            DETECTIVE                               FOUNTAIN:                                 Gotcha

 9                            MR.             DAVIS:                        But            she               just

10                  seemed               extremely                             tired                     that               day

11                  I've           never                  seen               her              that              tired,

12                  you        know,                 that               day              and             I      just

13                  like           really                 ..

14                            DETECTIVE                               FOUNTAIN                                  I

15                  understand.

16                            MR.             DAVIS:                        Bugged                       Rebecca

17                  out;           and          as             I'm           like               using

18                  making               her              use           the              bathroom,

19                  she's            just                 seemed                    really                      tired,

20                  so       she         didn't                       want               to          drink

21                  nothing

22                            She           usually                         always                       drink

23                  something                        at             morning.                             No         matter

24                  what,            she             usually                        always                      drink

25                  something                        and              she           just                 put           the
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 1   Michael Davis Interview, 3-2-15

 2                  bottle                 to         her            mouth                and            acted

 3                  like            she          was              drinking                       it;           and           you

 4                  could             tell                 whether                      she's                drinking

 5                  it       or       not,                 you          know,                  and           she

 6                  wasn't                 drinking                         it.

 7                            I      said              to            her           just              go        back               in

 8                  her           room           and              she           was            like,

 9                  "Okay,"                     and            she          was           in           the

10                  room.

11                            DETECTIVE                              FOUNTAIN:                               Okay.

12                  Umm,            you          never                  heard                  her

13                  gurgling,                         never                             she            never

14                  yelled                 or         anything?                                Because                      you

15                  say           you're                   a      light                 sleeper.

16                            MR.               DAVIS                       Yeah,                I'm           a       light

17                  sleeper                           Like              I         said,                I 'm        a

18                  light             sleeper                        because                     of

19                            DETECTIVE                              FOUNTAIN                                Your

20                  past            growing                       up

21                            MR.               DAVIS                       Yeah              with             being                   a

22                  foster                 kid             and          my          foster                   brothers

23                  was           doing               to          me,             but     ...

24                            I      was              extremely                           tired                that

25                  day             cause                  like             I       didn't                   go        to
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 1   Michael Davis Interview, 3-2-15

 2                  if       she          felt                   cold             or         not.

 3                             DETECTIVE                               FOUNTAIN:                                 You             just

 4                  panicked.

 5                             MR.            DAVIS                           Yeah,                   I     can't

 6                  even           say             if            she          felt                cold                 or        if

 7                  she        didn't                       feel              cold,                   you              know,                 I

 8                  didn't

 9                             DETECTIVE                               FOUNTAIN:                                 Did             you

10                  ever           think                    when              you            ran             out            the

11                  door,              did              you            want             to            take              her

12                  with           you?

13                            MR.             DAVIS:                          I      wanted                      to,           but

14                  she's              like                            I      would                   have              had             to

15                  put        her            clothes                         on        and               all           that

16                  stuff              and              I        was          just                panicking

17                  and        trying                       to         find             somebody                            to

18                  you        know              what                  I'm           saying                                 get

19                  the        ambulance                               to         the             house,                    so,

20                  like           I      didn't                       want             to            leave                 her

21                  on       the          couch                    whereas                        I       felt              like

22                  I      kinda              had                to,          you            know,                      cause

23                  she        didn't                       have              nothing                       on          and             I

24                  feel           like                 we         trying                    to           put           her

25                 clothes                    on            and             stuff                 like             that
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                                                                                                                         177

 1   Michael Davis Interview, 3-2-15

 2                  was       just           messing                    my           head             up.

 3                            DETECTIVE                       FOUNTAIN                                Did         she

 4                  have        on          pajamas?

 5                           MR.            DAVIS:                  Umm,                 she          had         on

 6                  her,        umm,              I      think               she           had          on        her

 7                  Pamper             and            she        had             on,           umm,           a

 8                  purple             shirt                with             a        flower,

 9                  yellow             flower                  on       it

10                            DETECTIVE                       FOUNTAIN:                               Okay.

11                           MR.            DAVIS:                               that             I     think

12                  they        kinda                 cut        off             of        her.

13                            DETECTIVE                       FOUNTAIN:                               Gotcha

14                           MR.            DAVIS:                  That                 was          the         only

15                  thing            that             she        had             on.

16                            DETECTIVE                       FOUNTAIN:                               She

17                  didn't                        she          didn't                    wear           pants?

18                           MR.            DAVIS:                  No,              I    don't               think

19                  she       had           her          pants               on          from           when             I

20                  changed                 her          pants               (inaudible).                                     I

21                  think            she          just           had             a       Pamper               on

22                  and       like            a       purple                 shirt                with            that

23                  yellow             and            white             flower                    on        top          of

24                  it.

25                            DETECTIVE                       FOUNTAIN:                               No
       . '
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Run: 5/03/2016                            RENSSELAER COUNTY 911
    13:11:00                                 DETAIL CALL SHEET




Call No.:    15 0000020320 Type: Cardiac I Respiratory Arrest EMD9           Date/Time 2/26/2015   13:09:35
                                                                             Call Taker Done       13:12:03
Incident
Address:     856.00     4                                        AV      Suite: FLR 1
           TROY CITY        NY 12180
CrossSVlnt:124 ST & NORTHERN DR
Caller:    SPRINT
Address: 55            LEVERSEE                                        Suite: W SECTOR
           TROY             NY                                        Phone: 518-892-5980
Contact: MIKE DAVIS
How
Received: C9                        Beal/Dist: Z4        Disposition: Transport to Hospital
Report No.:01-15-006144               Fire Report No.: 39-15-001836        EMS Report No.:

Dispatcher: 02-D44                  ESN: 828             Map Ref:
Comments: LAT:+042.784667 LON:-073.669746 ELV:+00000 COF:21 COP:063
          ACROSS FROM TESTOS--
          2 YOF NOT BREATHING--
          CALLER IS NOT WITH THE PT--
          ECHO
          CALLER IS ACROSS THE STREET CALLING--
          NO HOUSE PHONE
          CALLER UNABLE TO TAKE PHONE TO THE PT---
          CALLER WAS USING CELL PHONE OF MIKE RUSTIN WHO WORKS AT TESTO'S
          1:14 MOTHER CALLED AND SAID CHILD NOT BREATHING AND ASKED ABOUT DOING CPR
         AND SHE SAID HER BOYFRIEND WAS DOING CPR BUT IT WAS NOT WORKING THEN THE
          MEDICS ARRIVED
          1515- CALL PRINTED PER REQ OF CCC GLASSER #D15

Disposition STM
Comments 3205 AND CPS REPORT BY TP-266
            SEARCH WARRANT EXECUTED BY TP-144 AND TP-263
GOG:

Equipment:

Alerts:




Range:       From: 855 To: 860
             CALL BOX/ 8141
             FIRE BOX/ 1420



Unit           Car No.       Time     Status         Log Entry

TFE1           E-1           13:11:44 Dispatched     856.0 4 AV TROY CITY
TFM1           M-1           13:11:49 Dispatched     856.0 4AVTROYCITY




                                                    000529
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Run: 5/03/2016                         RENSSELAER COUNTY 911
     13:11:00                             DETAIL CALL SHEET




TFR          RS         13:12:20   Dispatched    856.0 4 AV TROY CITY
TFC4         CUMMINGS   13:12:23   Dispatched    856.0 4 AV TROY CITY
TFC4         CUMMINGS   13:12:51   EnRoute       856.0 4AV    TROY CITY
TFE1         E-1        13:12:52   EnRoute       856.0 4AV    TROY CITY
TFR          RS         13:12:54   EnRoute       856.0 4AV    TROY CITY
TFM1         M-1        13:12:56   EnRoute       856.0 4AV    TROY CITY
TP-S23       312        13:13:22   Dispatched    856.0 4 AV TROY CITY
TP-266       401        13:13:31   Dispatched    856.0 4 AV TROY CITY
TP-266       401        13:13:31   En Route      856.0 4 AV TROY CITY
TP-S23       312        13:13:45   EnRoute       856.0 4 AV TROY CITY
TFE1         E-1        13:14:19   On Scene         856.0 4 AV TROY CITY
TFM1         M-1        13:14:21   On Scene         856.0 4AV   TROY CITY
TFM1         M-1        13:16:45   N             WORKING FULL ARREST
TP-248       301L       13:17:23   Dispatched    856.0 4 AV TROY CITY
TP-248      301L        13:17:23   EnRoute       856.0 4 AV TROY CITY
TP-139      302         13:17:31   Dispatched    856.0 4 AV TROY CITY
TP-139      302         13:17:31   EnRoute       856.0 4 AV TROY CITY
TFR         RS          13:18:35   On Scene         856.0 4 AV TROY CITY
TP-266      401         13:18:55   On Scene         856.0 4AV   TROY CITY
TP-139      302         13:19:41   On Scene         856.0 4AV   TROY CITY
TP-248      301L        13:28:52   On Scene         856.0 4AV   TROY CITY
TFR         RS          13:28:55 N               STM 2YO FULL ARREST
TP-S23      312         13:29:31 On Scene           856.0 4 AV TROY CITY
TFM1        M-1         13:31:20 To Hospita       STM
TFR         RS          13:31 :26 To Hospita      STM
TFC4        CUMMINGS    13:35:45 On Scene           856.0 4 AV TROY CITY
TP-248      301L        13:36:05 At Hospita       stm
TFM1        M-1         13:36:52 At Hospita       STM
TFE1        E-1         13:38:44 In Service      856.0 4 AV FLR 1 TROY CITY
TFE1        E-1         13:38:47 In Quarter      856.0    4AV   TROY CITY
TFR         RS          13:38:55 At Hospita      STM
TP-139      302         13:41 :53 TL             cs 87659
TFC4        CUMMINGS    13:43:38 Cleared         856.0 4AV    TROY CITY
TP-139      302         13:54:06 AL              cs 87663
TP-139      302         13:59:52 To Hospita       STM 87663
TP-S23      312         14:01 :48 Cleared        856.0 4AV    TROY CITY
TFM1        M-1         14:03:50 N                BC OFFICE FOR PAY ROLL CHECKS
TP-139      302         14:10:14 At Hospita       STM 87664
TFR         RS          14:14:46 In Service      856.0 4 AV FLR 1 TROY CITY
TFR         RS          14:19:48 In Quarter      856.0    4AV   TROY CITY
TFM1        M-1         14:20:25 Cleared         856.0 4AV    TROY CITY
TP-144      311         14:37:22 Dispatched      856.0 4 AV TROY CITY
TP-144      311         14:37:22 EnRoute         856.0 4AV    TROY CITY




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Run: 5/03/2016                        RENSSELAER COUNTY 911
     13:11:00                            DETAIL CALL SHEET




TP-144       311       14:41 :00 On Scene            856.0 4 AV   TROY CITY
TP-144       311       14:41:06 At Hospita       STM
TP-231       401C      15:46:58 Dispatched      856.0 4 AV TROY CITY
TP-231       401C      15:46:58 EnRoute         856 4AV     TROY CITY
TP-231       401C      15:56:27 On Scene           856.0 4 AV   TROY CITY
TP-144       311       16:01:16   Cleared       856.0 4AV     TROY CITY
TP-248       301L      16:15:31   Cleared       856.0 4 AV TROY CITY
TP-144       311B      16:16:32   Dispatched    856.0 4 AV TROY CITY
TP-144       311B      16:16:38   AL            cs
TP-144       311B      16:17:07   Dispatched    cs
TP-263       311B      16:17:07   Dispatched   856.0 4 AV TROY CITY
TP-144       311B      16:17:07   EnRoute      856.0 4AV    TROY CITY
TP-263       311B      16:17:07   EnRoute      856.0 4 AV TROY CITY
TP-144       311B      16:18:45   On Scene        856.0 4AV   TROY CITY
TP-263       311 B     16:18:45   On Scene        856.0 4AV   TROY CITY
TP-231       401C      16:18:48   Cleared      856.0 4 AV TROY CITY
TP-266       401       16:25:34   Cleared      856.0 4 AV TROY CITY
TP-231       401C      16:25:44   Dispatched   856.0 4 AV TROY CITY
TP-231       401C      16:25:44   EnRoute      856.0 4 AV TROY CITY
TP-231       401C      16:25:44   On Scene        856.0 4 AV TROY CITY
TP-144       311B      17:58:03 TLC            cs
TP-263       311B      17:58:03 TLC
TP-231       401C      18:30:13 Cleared        856.0 4 AV     TROY CITY
TP-144       311B      20:27:29 Cleared        856.0 4 AV     TROY CITY
TP-263       311B      20:27:29 Cleared        856.0 4 AV     TROY CITY




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                                      APPENDIX
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                                                                                      Phone:
                                                                                                    1679
    Control#:          _20320-15     __
                                                                         Home:



                                                      •
    DEPOSITION OF A WITNESS
    STATE OF NEW roRK                                                    Work:
    COUNTYOF RENSSELAER
    CITY' OF TROY                                                        Cell:--


   Name: __ Michael             Bayly _____            _    Date    of    birth:     1■ .l■j-
   Residing      at:    _City      of Troy     Fire   Department_          Age:     _43   __
   Occupation:         Captain     Troy Fire     Department    _______                    _

   Depose      and say:         I would         like      to state        that      I was
   working      Engine 1 Station           City of Troy NY 12182 at about
   1: 11 P .M. on February              26 th 2015. My station              received        a
   Medical      call     for 856 4 th Avenue 1st Floor Troy NY for 2
   yr. old in Cardiac             arrest.       Upon arrival        I enter       the 1 st
   floor     residence        and found          on a black           colored       bench
   couch a small black              female child.           She was unresponsive
   but warm to touch.               An evaluation            showed she was not
  breathing.         Her pupils       were fixed          and dilated.         We began
  CPR protocol.           I attempted        to open the child            jaw, it was
  slightly       stiff.      I bagged         the child        and began pushing
  air.     Her jaw became more responsive.                       I then continued
  CPR with members of my unit.                   We administered           4 round of
  Epinephrine         and we electro            shocked      her after        she went
  into     to shock able rhythm while                     enroute      to St Mary's
  hospital.       I stayed       at the St Mary's             hospital       Emergency
 rooms and assisted                in the         treatment.       After       she was
 pronounced        by ER Doctor we secured                  and returned         to the
 Fire Station           and prepared          our report.        On February          27 th
 2015 I was contacted                by Captain         Sprauge      and requested
 to come to the Troy Police                       Station      and tell        them my
 initial      findings.        I came to the Police               Station      and met
 with      Detective        Sergeant          Parrow       and    gave      him      this
 statement.        End of Statement




FALSE STATEMENTSMADI!! HEREIN ARE PUNISHABLE AS A CLASS "A" MXSDEMEANOR
PURSUANTTO SECTION 210.45 OF THE PENAL LAW OF THE STATE OF NEW roRK.

Date:      __   February     27 th 2015_____                             Timea _3:20P.M        __    _

S~gned,         ~~Jl}_iJ$i                                                  Page,    1
Witness:                                              ~4.-r_,_
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                                                                                             APPENDIX
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                                                                                                Progress Filed
                                                                                                         Notes
                                                                                                               04/01/22 Page CONFID
                                                                                                                             1 of 3ENTIAL INFORMATION
                                                                                                                                                                    1680
                                                                                                                                                          AUTHORIZEDPERSONNELONLY
               CASE NAME:                                                  Parker.Rebecca      CASE ID:         26054825
             STAGE NAME:                                                   Parker.Rebecca      STAGE ID:        30062883
        Progress Notes Narrative:
       TCT- Dr. Sikirica's office ~,                                  cw spoke with Missa and asked if she there were any
       preliminary findings as a result of the autopsy regarding ch •.
                                                                                                           Missa said no, but that she would
       let the ME know that this cw called inquiry about the autopsy .
         ..................................................
                                                        .,......
                                                           . ,._................
                                                                             ,._Endof Note** ....................
                                                                                                              ,._.....................
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                                                                                                                                       .      ....................
                                                                                                                                                               .. ...



     Event Date:               3/2/2015
     Entry Date:               3/3/2015      Dist.Agy:  A38           Note Status: Final
    Author:                    Corbin, Kristin C                     Entered By: Corbin.Kristin C
     Method:                   Phone
    Type(s):                  Collateral Contact
    Other Participant(s): Other
    Progress Notes Narra~
    TCT-Troy Fire Dept.~.                 cw spoke with Asst. Chief Hughes, cw asked for a copy of the
    PCR and he advised that he already sent this information to the
                                                                       police dept., as they had provided a
    subpeona. He advised that b/c it is medical information and if there
                                                                           is a possibility of court
    proceedings, a subpeona is needed. Cw then asked who the first
                                                                         responders were at the scene.
    He reported that the first responders were Capt. Bailey, Lt. Tiding
                                                                        s, Cpt. Schoonmaker, Cpt. Vogt,
   as well as firefighters, Riley, Lucy, Judge, and Rosette. Cw asked
                                                                          how cw can get a hold of these
   responders. He advised that Capt. Bailey is not w~I             Wed. but that Lt. Tidings is working
   today in Lansingburgh and he gave the number as_,                he advised that he will call there and
   let Lt. Tidings know that cw will be calling. Cw thanked him and
                                                                      then hung up .
                                                   End
      ...............................................................

                                                                                                 'lf   ......   of Note......................................................
                                                                                                                                                                     ,...........
                                                                                                                                                                               . .... .
  Event Date:                          3/2/2015
  Entry Date:                          3/3/2015             Dlst.Agy:             A38            Note Status: Final .
  Author:                              Corbin, Kristin C                                         Entered By: Corbin.Kristin C
  Method:                              Phone
  Type(s):                            Collateral Contact
  Other Partlcipant(s): Other
  Progress Notes Narrative:
 TCT- Lt. Tidings @ -·                           Cw asked if he was first on the scene and he stated that Engine
 was with Cpt. Schoomarker, Firefighter Riley and Capt. Vogt. He                                                                                      1
                                                                                                      reported that he was on the
 ambulance that arrived within 5 seconds of Engine 1. He stated
                                                                                                    that ch had no pulse when he
 arrived and immediately began CPR, he advised that she started
                                                                                                     working on the ch. He stated that
 ch was in the front room on the 1st floor laying on the futon, he denied
                                                                                                             seeing mo or her boyfriend.
 He denied that ch had any visible injuries and he reported that she
                                                                                                       never regained a pulse. He
 denied that she was cold when he was with her in the apt. and that
                                                                                                       no rigimortis had set in. Cw
thanked him and then hung up.
   ••••••** ........,._
                     ..*..................................................
                                                                      End  ........
                                                                              of Note..............................,._._
                                                                                                                    ........
                                                                                                                        .......................................
                                                                                                                                                         ..
Event Date:                          3/2/2015
Entry Date:                         3/3/2015             Dist.Agy:              A38           Note Status: Final
Author:                             Corbin, Kristin C                                         Entered By: Corbin,Kristin C
Method:                             Phone
Type(s):                            Collateral Contact
Other Participant(s): Other
Progress Notes Narrative:
TCT- Troy Dispatch, cw spoke with the Supervisor on duty and
                                                                                                asked for a copy of the 911
Printed: 9/9/2015 2:16:15 PM
                                                                                                                                                                             Page:8

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                                                                   Investigation                                 •••••WARNING .. •••
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                                           Progress Notes               2 of 3       INFORMATION
                                                                                                                   1681
                                                                                                          AUTHORIZED PERSONNEL ONLY

     CASE NAME:         Parker.Rebecca               CASE ID:    26064825
     STAGE NAME:        Parker.Rebecca               STAGE ID:   30062883

     Event Date:                          3/24/2015
    Entry Date:                           3/29/2015 Dist.Agy: A38                           Note Status: Final
    Author:                               Corbin, Kristin C                                 Entered By: Corbin,Kristin C
    Method:                              Phone
    Type(s):                             Collateral Contact
    Other Participant(s): Law Enforcement
   Progress Notes Narrative:
   TCT- Ron Fountain (Troy PD detective), cw asked for any update on case. He advised that they are
   waiting for Dr. Sikirica to sign the autopsy report, as the cause of death will be ruled a homicide, he
   advised that the doctor is just waiting for a couple labs to come back first. He further advised that
   he spoke with bio-fa Clarence for a long time and he reported that Michael is a coneiver. Cw asked
   If he has Michael's child's mother contact information and he advised that her name is Shaquana
   Pitts and her number is                                    . Cw advised that cw is going to attempt contact with mo and
   he said go ahead. He further reported that Clarence reported that he petitioned the court for an
  OOP In October against Michael protecting ...                                 as he had concerns at that time that Michael was
  hitting Viola. He reported that he heard Michael hitting ch during a phone call. Cw thanked him and
  then hung up.
     ............................................................................
                                                                       End of Not ********....**********.."'****....****..**********..****




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                                                                                                                           Page: 16


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                                                                          ..... WARNING.....
                                          Progress Notes                            CONFIDENTIALINFORMATION
                                                                                   AUTHORIZEDPERSONNELONLY
  CASE NAME:    Parker,Rebecca
                                         CASE ID:   26054826
  STAGE NAME:   Parker,Rebecca
                                        STAGE ID:   30062883
   Location:                LOSS Office/Field Office
   Type(s):                 Collateral Contact
  Other Participant(s): Law Enf
                                     orcement
  Progress Notes Narrative:
  This cw spoke with Det. Fountain
                                      at this cw's office. Det. Fountain
  made until they have a copy of the                                       advised that no arrest can be
                                       autopsy stating what the cause and
 advised that the Medical Examin                                               manner of death is. He
                                    er's office has told him that ch's
 death certificate is signed by the                                    dea  th was a homocide but until the
                                     medical examiner, he can't move
 investigation. Cw asked for cop                                          forward with the criminal
                                   ies of the photos of the scene. De
 moves forward he will be unable                                         t. advised that until the case
                                    to provide this cw with the photos
made, he will get copies of the pho                                     , but once an arrest has been
                                      tos of the scene to this cw. Cw
he advised for cw to touch base                                          asked for a copy of the PCR and
                                   next week and he will make a cop
thanked him and then he left.                                           y of this for this cw's file. Cw




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                              )              .   }



                                                             APPENDIX
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                                                                                                                                         1683
 CONTROL#                                                                                              HOME----,.,.---=-~----
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 DEPOSITIONOF A WITNESS                                                                                                          COURT
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FALSE StATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS "A" MISDEMEANOR PURSUAN~TO SECTION 210.45 OF THE PENAL
LAW OF THE STATEOF NEW YORK.                                              W ,



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                                                                             1
 1

 2                             DEPOSITION of DANIELLE COONRADT

 3

 4   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 5   ----------------------------------------------X
     MICHAEL DAVIS-GUIDER,
 6
                               Plaintiff,
 7
     -against-                 Civil Case No.: 1:17-cv-01290
 8                             (FJS/DJS)

 9   CITY OF TROY, RONALD FOUNTAIN, Individually,
     DANIELLE COONRADT, Individually, CHARLES
10   MCDONALD, Individually, TIM COLANERI,
     Individually, ADAM R. MASON, Individually,
11   RENSSELAER COUNTY, MICHAEL SIKIRICA,
     Individually, and JOEL ABELOVE,
12   Individually,

13                      Defendants.
     ----------------------------------------------X
14

15        DEPOSITION of the Defendant, DANIELLE COONRADT,

16 held on May 28, 2021, commencing at 1:00 p.m.,

17 being held virtually by Zoom, pursuant to Notice;

18 before Susan Florio, a Registered Professional

19 Reporter and Notary Public in and for the State of

20 New York.

21

22

23
        Susan Florio, RPR - Professional Reporting Service - (518)887-2733
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                                                                      1685
                                                                             14
 1    [DANIELLE COONRADT - By Mr. Klein]

 2         Q.    Okay.     Were you alone or with someone

 3    when you got the call?

 4         A.    I was in the patrol car by myself.

 5         Q.    Okay.     And did you respond?            Where were

 6    you when you got the call?

 7         A.    I don't recall that.

 8         Q.    And did you respond to the location?

 9         A.    Yes.

10         Q.    Okay.     And what did you observe upon

11    arrival at Fourth Avenue?

12         A.    I observed Mr. Davis outside.                I don't

13    recall specifically what he was doing.

14         Q.    Had you ever seen him before that date?

15         A.    No.

16         Q.    No.    And had you had any dealings with

17    him since other than in connection with this

18    arrest and prosecution?

19         A.    No.

20         Q.    At some point did Rebecca Parker, the

21    mother of V.D., did she arrive at the scene or

22    was she there when you got there?

23         A.    I don't recall if she was there when I
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 1    [DANIELLE COONRADT - By Mr. Klein]

 2    got there.       I do remember her being there though.

 3         Q.    Had you ever seen her before?

 4         A.    No.

 5         Q.    Okay.     Have you had any dealings with her

 6    since this incident other than as it relates to

 7    this case?

 8         A.    No.

 9         Q.    Okay.     Were any other members of the

10    service there other than yourself or were you the

11    first to arrive on scene?

12         A.    I was the first officer on scene.

13         Q.    Okay.     So, when you saw Mr. Davis can you

14    describe his demeanor, anything he said, or

15    anything else that you observed?

16         A.    I recall asking him what happened and him

17    saying that -- to paraphrase, because I don't

18    have my paperwork in front of me, him saying she

19    woke me up at -- she woke me up at 8:00.                   I told

20    her it was too early, to go back to bed, and then

21    I went to wake her up at 11 and she wouldn't wake

22    up, something to that effect.

23         Q.    Okay.     Did he tell you anything else or
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 1    [DANIELLE COONRADT - By Mr. Klein]

 2    he may have, but you don't remember without

 3    looking at your paperwork?

 4         A.    I believe I said it's 1:30 or something

 5    along those lines and he said time must be flying

 6    and that was the extent of my conversation with

 7    him.

 8         Q.    Do you recall what time it was, was it

 9    1:30 or --

10         A.    Yes.

11         Q.    How long had you been there when you were

12    speaking with him, was it instantaneous or were

13    you there for some time before you spoke with

14    him?

15         A.    I don't recall how long I was there

16    prior.

17         Q.    When you spoke with him were any members

18    of the service or EMS at the scene or was it just

19    you and him?

20         A.    EMS was inside.         I was outside with him.

21         Q.    Okay.     And what happened next?

22         A.    I went inside, took a look around the

23    apartment without touching anything or opening
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 1

 2                         DEPOSITION of RONALD FOUNTAIN

 3

 4   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 5   ----------------------------------------------X
     MICHAEL DAVIS-GUIDER,
 6
                                Plaintiff,
 7
     -against-                  Civil Case No.: 1:17-cv-01290
 8                              (FJS/DJS)

 9   CITY OF TROY, RONALD FOUNTAIN, Individually,
     DANIELLE COONRADT, Individually, CHARLES
10   MCDONALD, Individually, TIM COLANERI,
     Individually, ADAM R. MASON, Individually,
11   RENSSELAER COUNTY, MICHAEL SIKIRICA,
     Individually, and JOEL ABELOVE,
12   Individually,

13                      Defendants.
     ----------------------------------------------X
14

15        DEPOSITION of the Defendant, RONALD FOUNTAIN,

16 held on May 21, 2021, commencing at 9:00 a.m.,

17 being held virtually by Zoom, pursuant to Notice;

18 before Susan Florio, a Registered Professional

19 Reporter and Notary Public in and for the State of

20 New York.

21

22

23
         Susan Florio, RPR - Professional Reporting Service - (518)887-2733
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         Q.     Was that before the Michael Davis case?

 3         A.     I believe.       Yes.

 4         Q.     Did you take anything from the Colonie

 5    training that you implemented in your practices

 6    in the nine years or so that you continued to

 7    investigate or did you just kind of trial and

 8    error due to how you felt was best?

 9                         MS. SPENCER:        Object to form.         You

10                can answer.

11         A.     I did the way I thought it was best.

12         Q.     Okay.     So, on February 26th, 2015,

13    assuming it's approximately correct that it was a

14    911 call at around 1 p.m., when did you get

15    notified by, I think you said it was Captain

16    Sprague?

17         A.     We received a phone call that afternoon

18    to go down.        I don't know what time.

19         Q.     Okay.     And what did you do?

20         A.     We responded to the address.

21         Q.     Okay.     And what did you observe and what

22    happened there?

23         A.     To the best of my recollection I believe
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    I believe Sergeant Colaneri came in at one time

 3    and put his cell phone down to record it and I

 4    don't know how we took -- no clue.

 5         Q.     There's about 12 minutes of a video,

 6    which we could show you, but other than that it

 7    doesn't seem to have recorded the entire

 8    interaction.        Do you recall whether the entire

 9    interaction was recorded or just part of it?

10         A.     Just that part that Colaneri did.                 It

11    was very --

12         Q.     Okay.     Do you recall it being about 12

13    minutes?

14         A.     Sure.     Yes.

15         Q.     Rather than an hour or hours?

16         A.     I don't believe it was that long, but I

17    don't know how long it was.

18         Q.     Was there some kind of conferral between

19    you and McDonald or Colaneri to hit record or did

20    Colaneri do it without you realizing it and you

21    found out later, how did that come to pass?

22                         MS. SPENCER:        Object to form.

23         A.     I don't believe he told me about it so I
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    think Colaneri just did it because he was in --

 3         Q.     And would you agree that nothing -- Mike

 4    Davis did not incriminate himself or otherwise

 5    give you any reason to believe a crime was

 6    committed at that time?

 7         A.     Correct.

 8                         MS. SPENCER:        Object to form,

 9                please.

10         Q.     And so you didn't have probable cause at

11    that time, correct?

12                         MS. SPENCER:        Object to form.

13         A.     Correct.

14         Q.     Okay.     Now, is there anything else you

15    can recall about that interview?

16         A.     I believe we talked a little bit about

17    looking through the house and had him sign a

18    waiver so we could look through the house.

19         Q.     Now, at that time did you or any of your

20    colleagues share with you that an opinion was

21    formed a child died and so this must be foul play

22    as opposed to some type of natural cause?                    Did

23    you guys have any theory at that point within the
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         Q.     So, how would you describe your role for

 3    the record, were you like the lead investigator

 4    in this case?

 5         A.     I would say yes.

 6         Q.     Okay.     And just how did you become the

 7    lead in this case, were you next up on the wheel

 8    or Captain Sprague told you or something else?

 9         A.     Because I was assigned to the juvenile

10    division Captain Sprague said it was mine and

11    Officer McDonald's case.

12         Q.     Got it.      Was Adam Mason a detective

13    sergeant at that time like he was years earlier

14    at the Thomas case?

15         A.     Yes.

16         Q.     Was he your direct supervisor?

17         A.     I don't believe so.           No.

18         Q.     Okay.     He was part of -- was he part of

19    the detective squad?

20         A.     Yes.

21         Q.     Okay.     And Tim Colaneri, Sergeant

22    Colaneri, was he part of the detective squad or

23    something else?
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         A.     Detective Sergeant Colaneri.

 3         Q.     Okay.     So, what was -- you were the lead

 4    investigator.        What role did -- was it Detective

 5    McDonald or Officer McDonald, what role did he

 6    play in this case?

 7         A.     I mean, he was an officer assigned to the

 8    detective bureau like myself.

 9         Q.     Okay.     And what involvement did he have

10    in this case?        He was present during the first

11    interview, correct?

12         A.     He was my partner.

13         Q.     Okay.

14         A.     All parts of the case he was part of it.

15         Q.     So, if you, for instance, if you went

16    down and met with the District Attorney's Office

17    to prep for trial or speak to him about the case,

18    was he generally with you and aware of what was

19    going on?

20         A.     I believe so.

21         Q.     Okay.     What was Sergeant Colaneri's role

22    in this case to your knowledge?

23         A.     I don't recall.         I believe maybe he typed
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    there.     Do you know who she is?

 3         A.     I do.

 4         Q.     And what was her role in this case to

 5    your knowledge?

 6         A.     At the time I believe she was the

 7    assigned D.A. to the case.

 8         Q.     Okay.     And do you have any knowledge as

 9    to whether she reported directly to Joel Abelove

10    or whether she had chains of command in her

11    office?

12         A.     I have no idea what they did at the time.

13         Q.     Did you ever come to learn whether Joel

14    Abelove had personal involvement in the direction

15    of this case or handling of this case?

16         A.     Not to my knowledge.

17         Q.     Was Andra Ackerman involved in the

18    investigatory phase of this case, meaning in the

19    months before there was any judicial indictment

20    or proceedings?

21         A.     I'm sure I ran things past Andra.                 I

22    don't remember what.

23         Q.     Okay.     Would you have been working with
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    the D.A.'s office to confer with them as to what

 3    steps to take or would you just merely keep them

 4    apprised and you were making the decisions?

 5                         MS. SPENCER:        Object to form.

 6                         MR. FIRTH:       Same objection.

 7         A.     I believe both.         I believe that I kept

 8    them apprised and took direction if they told me,

 9    you know, they needed more information.

10         Q.     Well, the information you gave to the

11    D.A.'s office in this case, did you give it to

12    anyone other than Andra Ackerman?

13                         MS. SPENCER:        Object to form.

14         A.     I thought when I got towards the end I

15    thought Andra was gone and I can't think of her

16    name now.       The first assistant I think I gave.

17    She was involved, too.

18         Q.     Shaftkin (phonetic)?

19         A.     No.    No.    She was a brand new attorney

20    who got assigned the case.

21         Q.     Oh.

22         A.     First Assistant District Attorney under

23    Abelove and I can't remember her name off the top
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    involved in the initiation of the prosecution

 3    here other than you?

 4         A.     I don't know.

 5                         MS. SPENCER:        Object to form.

 6         Q.     Okay.     Well, do you have reason to think

 7    that anyone else did other than you or given your

 8    experience you were likely the only one who did?

 9                         MR. FIRTH:       Object to form.

10                         MS. SPENCER:        Object to form.

11         A.     I really don't recall.

12         Q.     Okay.     It's fair to say that you, through

13    your testimony coupled with Dr. Sikirica's

14    testimony you initiated this prosecution by

15    testifying in the grand jury?

16                         MS. SPENCER:        Object to form.

17                         MR. FIRTH:       Object to form.

18         A.     I don't understand.

19         Q.     You were personally -- this case wasn't

20    started with an arrest, pre-warrant arrest, this

21    was -- there was a sealed indictment?

22         A.     Correct.

23         Q.     That resulted in a warrant and then you
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    had Mr. Davis surrender under warrant, correct?

 3                        MS. SPENCER:        Object to form.

 4                        MR. FIRTH:       Objection.

 5         Q.     Or you went to pick him up?

 6                        MR. FIRTH:       Form.

 7         A.     I believe the marshals picked him up and

 8    I met him afterwards.

 9         Q.     Right.     So, this case was, this

10    prosecution was started via your testimony, among

11    other testimony of others in the grand jury, is

12    that your understanding?

13                        MR. FIRTH:       Objection to form.

14                        MS. SPENCER:        Object to form.

15         A.     Yes.

16         Q.     Okay.    So, on February 26th, 2015, going

17    back to the interview where there was a cell

18    phone recording of part of it, after that

19    interview what happened after that?                 Was Mike

20    allowed to leave?

21         A.     Yes.

22         Q.     And I think you said you didn't have any

23    reason to believe a crime was committed or that
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    he committed it at that time, correct?

 3                        MS. SPENCER:        Object to form.

 4         A.     At the time we had no idea what happened.

 5         Q.     Okay.    And so what did you do next in

 6    this investigation?

 7         A.     I think the next day there was an

 8    autopsy.

 9         Q.     And you attended it?

10         A.     Correct.

11         Q.     Okay.    And who else was there?

12         A.     I didn't see the sign-in sheet.               I'm

13    going to assume -- I know Officer McDonald was

14    there.     I believe A.D.A. Ackerman was there.

15    Dr. Sikirica was there.            I don't know who else.

16         Q.     Okay.    I have it here and we can put it

17    up and mark it, but I'll represent to you it's

18    McDonald, Fountain, Evidence Tech Buttofucco?

19         A.     Correct.

20         Q.     Zeigler I think from Dr. Sikirica's

21    office?

22         A.     Yup.    Mike.

23         Q.     And it looks like Detective Colaneri?
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         A.     Okay.

 3         Q.     And Andra Ackerman.          Does that sound

 4    right?

 5         A.     Yes.

 6                        MR. FIRTH:       Just for the record,

 7                you are reading from a sign-in sheet?

 8                        MR. KLEIN:       Yeah.     And we can mark

 9                it.     Sue, should I just e-mail it to

10                everyone or?

11                        THE REPORTER:        Sure.

12                        MR. KLEIN:       I don't really feel

13                it's that important.           I think we all

14                agree -- if we all agree there's a

15                sign-in sheet Meeting/Autopsy dated

16                February 27th, 2015, I don't know that I

17                need to take the time to do it, but if

18                everyone feels better marking it for the

19                record.

20                        MR. FIRTH:       I would feel better

21                marking it and I think what we can do is,

22                I think you can just share your screen

23                and then you can e-mail it to Sue
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2                afterwards and circulate.

 3                        MR. KLEIN:       I'll do that now.

 4                        (Plaintiff's Exhibit No. 1, Sign-in

 5                Sheet, 2/27/15, marked this date for

 6                identification.)

 7         Q.     Does this appear to be a sign-in sheet

 8    from February 27th, 2015?

 9         A.     Yes.

10         Q.     Reflecting the attendees at the autopsy?

11         A.     Yes.

12         Q.     What, if anything, do you recall about

13    the autopsy?

14         A.     I recall V.D. being on a table cracked

15    open.     I recall the doctor pointing to her liver

16    saying this isn't right.            I recall the holes in

17    her liver very vividly.            And him telling me that

18    she must have -- something happened, I don't

19    know, I don't remember exactly what he said.

20         Q.     Okay.    Did he tell you that there were

21    fractured ribs that he observed on autopsy?

22         A.     Yes.

23         Q.     And that they were not displaced -- did
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    he tell you that they weren't visible on X-ray,

 3    but saw them on autopsy?

 4         A.     I don't recall what he said.

 5         Q.     Okay.    Did he tell you or were you

 6    informed that the ribs lacerated the liver?

 7         A.     Yes.

 8         Q.     Okay.    And have you come to learn at any

 9    time since then up until now that that was

10    incorrect?

11                        MR. FIRTH:       Objection to form.

12         A.     No.

13         Q.     I'm sorry?

14         A.     I don't recall that not being correct.                     I

15    thought that's what it was.

16         Q.     No.    And so when you testified at trial,

17    do you recall testifying on the same day as

18    Dr. Sikirica?

19         A.     I do not.

20         Q.     Okay.    Do you recall being asked at trial

21    that if you knew that Dr. Sikirica testified and

22    put in his report that the ribs did not lacerate

23    the liver?
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         A.     Just if he could come down we'd like to

 3    speak to him.

 4         Q.     Okay.    And was he cooperative?

 5         A.     Absolutely.

 6         Q.     Was Mike Davis cooperative from the time

 7    you met him on February 26th through the time

 8    that you -- he was brought to headquarters to be

 9    charged and booked on the indictment?

10         A.     Yes.

11         Q.     Okay.    So, the meeting -- the interview

12    on March 2nd, 2015, at headquarters, that's one

13    where you sat with Mike Davis for, don't quote me

14    on the exact time, but approximately two hours

15    and interviewed him on video?

16         A.     I won't quote you on the exact time.                  If

17    you say so that sounds right to me.

18         Q.     It was a lengthy interview?

19         A.     Was it two hours?         I didn't know it was

20    that long.

21         Q.     Okay.    And that interview on 3/2/15,

22    other than there being a video memorializing it,

23    were there any written notes or statements
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    written up for Davis to sign?

 3          A.    Not to the best of my knowledge.                Unless

 4    you have one I don't know.

 5          Q.    Well, in this case I'm not aware of it.

 6    I think you have a Miranda card here, but I'm not

 7    aware of a written statement.              So, that's the

 8    same room you interviewed Adrian Thomas in 2008,

 9    correct?

10                        MS. SPENCER:        Object to form.

11          A.    Correct.

12          Q.    Same video camera or had it been updated

13    or?

14          A.    I have no idea.

15          Q.    Was it the same place, the camera?

16          A.    Yes.

17          Q.    And it was monitored in 2015 similarly to

18    how it was in 2008 in a nearby office with a

19    computer monitor?

20          A.    Yes.

21          Q.    Who was monitoring the interview on March

22    2nd, 2015, if you know?

23          A.    I don't recall.
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         Q.     Who determined the direction of that

 3    interview that day, was that you or did you work

 4    in cooperation with your partner, McDonald, or

 5    someone else?

 6         A.     I'm sure I did.        I'll say me.

 7         Q.     Okay.    And do you recall that interview

 8    sitting here today, whether specifically or just

 9    generally?

10         A.     Just that I recall that it was really of

11    non-substance when it was all said and done.

12         Q.     Right.     In other words, Mike, at the

13    conclusion of that interview you had no

14    additional or further explanation of what

15    happened compared to what you knew on the day of

16    the incident, correct?

17         A.     Correct.

18         Q.     You had no reason to believe that a crime

19    was committed or that Mike Davis committed it as

20    of the end of that interview on March 2nd, 2015?

21                        MS. SPENCER:        Object to form.

22         A.     I believe I just knew that we were still

23    investigating a suspicious death.
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         Q.     Right, but to answer the question I asked

 3    you is different.         You have no reason to believe

 4    that Mike Davis committed any crime at that

 5    point?

 6                        MS. SPENCER:        Object to form.

 7                        MR. FIRTH:       Form.

 8         A.     I knew that something happened bad to a

 9    child.     I just didn't know how or what.

10         Q.     And you didn't know who either?               You

11    didn't know if Mike Davis did it or something

12    happened weeks earlier that led to the child

13    dying or something else, you didn't know either

14    way, correct?

15                        MS. SPENCER:        Object to form.

16         A.     I knew that he was the only one alone

17    with the child when she died.              That's what I

18    knew.

19         Q.     That's not the basis though to charge

20    someone with a murder necessarily; is it?

21         A.     No.    It's not.

22         Q.     And that was -- was that the working

23    theory though in this case that he had access to
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    the child for the three or four hours from when

 3    she went to sleep until the time that she was

 4    found unresponsive so he was the prime suspect?

 5    Was that the working theory?

 6                        MR. FIRTH:       Brett, what do you mean

 7                by working theory?

 8         Q.     Was that your theory of pursuing him as a

 9    suspect, that he was there so it was more than

10    likely than not him that did something

11    suspicious?

12                        MS. SPENCER:        Object to form.

13         A.     So, being that we had a suspicious death

14    of a child and we don't know how she died and he

15    was the only one there so, yes, he was the prime

16    person we expected to know why this child had

17    died.

18         Q.     Okay.    And is it fair to say that that

19    was the way you proceeded in the Adrian Thomas

20    case as well?        Adrian was alone with M and you

21    targeted Adrian to try to do what you could to

22    get him to incriminate himself because you

23    believed given his access to the child, one of
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    two adults in the home, that you believed with a

 3    suspicious death he had to have been responsible?

 4                        MS. SPENCER:        Object to the form.

 5         Q.     Is that a similar theory of working up

 6    the case?

 7         A.     Yeah.

 8         Q.     Okay.    Was that a theory of working up a

 9    case that you employed in other cases as well, or

10    does it just happen to be the two that I happen

11    to know about?

12                        MS. SPENCER:        Object to form.

13         A.     I'm going to go with the two you know

14    about.

15         Q.     Okay.    There was I think reference to

16    trial of a res ipsa theory of prosecute -- of law

17    enforcement that you just -- something, there was

18    a baby that tragically passed on, there was

19    someone there, and you just went with it that

20    this person had to have been involved?                  Is that a

21    fair summary of how you proceeded here?

22                        MR. FIRTH:       Form.

23                        MS. SPENCER:        Object to form.
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         A.     I believe that there was a suspicious

 3    death, he was the only one there and we wanted to

 4    know why this child died, yes.

 5         Q.     Okay.    So, but just circling back to

 6    March 2nd, 2015, after the hour or two recorded

 7    interview you were not any closer to having

 8    reason to believe Michael Davis caused this

 9    death, correct?

10                        MS. SPENCER:        Object to form.

11         A.     I didn't know how this death was caused

12    yet, no.

13         Q.     I'm not asking how.          But I'm saying you

14    weren't any closer believing that Michael Davis

15    had a role in it, correct?

16                        MS. SPENCER:        Object to form.

17         A.     Not to my knowledge at that time.

18         Q.     Okay.    So, what happened next in terms of

19    the investigation after that interview on March

20    2nd?

21         A.     I believe we met with Dr. Sikirica.                 I

22    want to say we met with the D.A.'s office a

23    couple times.        I'm sure my captain in a couple --
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    and maybe Sergeant Colaneri was involved, as a

 3    supervisor, we met a few times of what was going

 4    on in the case and what we could do and what we

 5    couldn't do.

 6         Q.     So, I'm showing what we'll call Exhibit

 7    2.

 8                        (Exhibit No. 2, Sign-in Sheet,

 9                3/12/15, marked this date for

10                identification.)

11         Q.     Which is a sign-in sheet from March 12th,

12    2015.     This is a meeting with Dr. Sikirica, Andra

13    Ackerman, Detective Sergeant Parrow, Detective

14    Fountain, Detective Colaneri, Detective Sergeant

15    Adam Mason.

16                Is this kind of what you were referring

17    to as the next, one of the next meetings that you

18    recall?

19         A.     One of them.       I'm sure there were others.

20         Q.     Okay.    And can you recall anything

21    specifically that happened at that meeting, what

22    was discussed?        Was linking Michael Davis to the

23    injuries that Dr. Sikirica observed on autopsy,
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    was that discussed?          What else, what, if

 3    anything, was discussed at that meeting?

 4                        MS. SPENCER:        Object to form.

 5                        MR. FIRTH:       Form.

 6         A.     I don't know.        I don't recall.

 7         Q.     What types of things generally -- you've

 8    attended meetings like that in the past in other

 9    cases as well, correct?

10         A.     Correct.

11         Q.     Post autopsy meetings with the D.A. and

12    the medical examiner, is that fair?

13         A.     Yeah.

14         Q.     And what types of things are generally

15    discussed at some meetings?

16         A.     How the person maybe passed.

17         Q.     Okay.    Well, that would have been

18    discussed at the autopsy itself.                So, was this

19    kind of rediscussed, what Dr. Sikirica found, so

20    that you could discuss it more in depth or was it

21    to discuss things that you've learned since that

22    time or you don't know?

23         A.     I don't remember.
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         Q.     Okay.    Who was driving the investigation

 3    as of that date, ten days after your interview

 4    with Mike Davis, on March 12th, were you charged

 5    with finding an answer to this question or was

 6    the D.A. giving you tasks to do or what?

 7                        MS. SPENCER:        Object to form.

 8                        MR. FIRTH:       Form.

 9         A.     It was still an open investigation.                 I

10    don't remember who was driving it or whether we

11    were still talking.          We still knew we had a child

12    that was dead and it was suspicious and somebody

13    had to have done something because that's what we

14    were told.

15         Q.     Okay.    Would you have taken notes at that

16    meeting?

17         A.     I don't remember.         If I did you have

18    them.

19         Q.     Okay.    Can you recall any other meetings

20    before the autopsy was released?                I don't have

21    any other meeting sheets other than there's a

22    meeting sheet with the D.A. and Sikirica after

23    the autopsy but you are not there.
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2                Do you believe you were at other meetings

 3    with Sikirica and/or the D.A.?

 4         A.     Together I don't recall.            I believe I met

 5    with the D.A. a few times just on, you know, what

 6    could be done or what they needed me to do if

 7    they wanted to go further with this.

 8         Q.     So, walk us through those meetings.                 Were

 9    they close in time to February 26th, were they

10    scattered from February 26th through the arrest

11    in October of 2015 or something else?

12         A.     I don't remember the whole layout of it.

13    I'm sorry.

14         Q.     Okay.    And whenever you don't, that's

15    fine.     But we need you to tell us to the best of

16    your recollection what you do remember.                   So, if

17    you believe there were possibly two or three or

18    seven or ten, you need to tell us to the best of

19    your ability.

20         A.     I don't -- I recall Ms. Ackerman left the

21    D.A.'s office.        I believe I spoke with -- again,

22    I can't remember her name, the first assistant

23    D.A. under Abelove, about the case.                 I don't
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    recall how many times.           Maybe two.

 3         Q.     Okay.    And was there ever any skepticism

 4    or question about whether there would be an

 5    indictment sought in this case?

 6         A.     I don't recall.

 7         Q.     Okay.    So, what do you recall next?                I

 8    mean, there's evidence in the record in your --

 9    that you were called frequently by CPS.                   They

10    were inquiring on the status of this

11    investigation and you said under numerous

12    occasions in sum and substance that you are

13    waiting for the M.E. to give you the cause and

14    manner of death and you couldn't give them any

15    more information.         Do you recall generally that

16    you would be contacted by CPS?

17         A.     On that case and numerous other cases I'm

18    sure.

19         Q.     Okay.    Do you recall anything specific

20    that CPS did or that you said to them in this

21    case that stands out other than status reports?

22         A.     Not that I recall.

23         Q.     Okay.    So, what's the next big event in
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2                        MS. SPENCER:        Object to form.

 3         Q.     Okay.    Just because you believe now you

 4    would not have done that can you state

 5    affirmatively that you didn't do it?

 6                        MS. SPENCER:        Object to form.

 7         A.     I didn't do that.

 8         Q.     Okay.    So, just for the avoidance of

 9    doubt, is there anything else you can recall in

10    terms of your investigation between the March

11    12th meeting at Dr. Sikirica's office that I

12    showed you the sign-in sheet and the time you

13    became aware or advised of the autopsy findings?

14         A.     Not that I can recall.

15         Q.     Okay.    So, was it around August or when

16    was it you became aware of the autopsy finding?

17         A.     When I received the autopsy.

18         Q.     Okay.    That's a good answer.            You don't

19    know exactly when that was?

20         A.     No.

21         Q.     Okay.    Well, Mike Davis was interviewed

22    by you, we'll call it the third interview I

23    guess, at headquarters on 9/9/15.                Does that
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    sound right?

 3         A.     Sure.

 4         Q.     Okay.    So, I didn't hear an answer just

 5    for the record.        I don't know if you got it.

 6         A.     Yes.

 7         Q.     So how long before that did you get the

 8    autopsy, was it days or weeks or?

 9         A.     I don't recall.

10         Q.     Whose determination was it to get Mike in

11    upon receipt of the autopsy, was it your call?

12         A.     I don't recall.

13         Q.     Okay.    Was Mike living in the home where

14    the -- where V passed or was he living somewhere

15    else at that time?

16         A.     He was not living in the home where she

17    passed, but I don't remember.

18         Q.     And he had advised you where he would be

19    and how you could reach him, correct?

20         A.     I don't believe so.          No.

21         Q.     Okay.    How did you find him?

22         A.     I think the marshals found him.

23         Q.     Okay.    Well, you found him before the
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         Q.     It's possible?

 3         A.     Yes.

 4         Q.     So you don't know whether he evaded you

 5    or not, you have no recollection either way?

 6         A.     I don't believe he evaded me.               I just

 7    don't --

 8         Q.     Okay.    So, after the interview on 9/9/15

 9    would you say in that interview as well he didn't

10    give you anything of substance as you described

11    for the March 2nd interview?

12         A.     Nothing more than I already had I don't

13    believe.

14         Q.     Right.     And what you already had you

15    described earlier I think you used the words

16    "nothing of substance."            Were those the words you

17    used?

18                        MS. SPENCER:        Object to form.

19         A.     Yeah.    Besides him --

20         Q.     Okay.    So, if you had nothing more than

21    what you had on March 2nd, would you agree as of

22    interviewing him on 9/9/15 you still didn't have

23    reason to believe that he was responsible for the
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    you were authorized to break the law?

 3                        MS. SPENCER:        Objection.

 4         A.     It just means I didn't commit petty

 5    larceny.      I had permission.

 6         Q.     Okay.    You were also charged with

 7    conspiracy and what else?

 8         A.     I don't remember.         But if you want to

 9    discuss that, I mean, my attorney I'm sure would

10    be happy to.

11         Q.     You were charged with public corruption,

12    and official misconduct, conspiracy, criminal

13    solicitation.        All of those acts alleged to have

14    taken place in October of 2015.

15                So, now that we are up to September 9th,

16    2015.     Michael Davis was arrested on October 2nd

17    of 2015.      Just in terms of what was going on with

18    you and your colleagues involved in this case,

19    when were you arrested -- when did those events

20    with the 911 tape occur in relation to Mike

21    Davis' arrest, did they overlap?                Was it early

22    October, was it mid October, late October?

23                        MS. SPENCER:        Object to form.
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         A.     I believe it was late October.

 3         Q.     Okay.    Did your involvement in that case

 4    either, that you were adversarial to D.A. Abelove

 5    who was prosecuting Mike Davis but also

 6    investigating you or did your colleagues who you

 7    worked with at Troy flipping on you, did any of

 8    that interfere with the Mike Davis prosecution?

 9                        MS. SPENCER:        Objection to

10                characterization.

11                        MR. FIRTH:       Objection.

12         A.     Not to my knowledge.

13         Q.     When you resigned, I think you said it

14    was April or May of 2016?

15         A.     April or March.

16         Q.     Was that negotiated by your attorney that

17    you mentioned earlier, your criminal attorney?

18         A.     No.

19         Q.     You just resigned?

20         A.     I retired.

21         Q.     You retired.       Did you have pending

22    charges where you could have been fired if it

23    went any further, even administrative charges
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    related to taking the 911 recording?

 3         A.     There were no administrative charges when

 4    I left.

 5         Q.     Okay.    Were they resolved or there were

 6    just none whatsoever?

 7         A.     There was none whatsoever.

 8         Q.     All right.      When you left did you agree

 9    to participate in the Mike Davis prosecution and

10    any other cases that you were involved before you

11    retired or did they have to subpoena you and have

12    you come in involuntarily?

13                        MR. FIRTH:       Objection.

14         A.     I was --

15         Q.     Like Mike Davis' trial was in August of

16    2016.     Does that sound right?

17         A.     Correct.

18         Q.     And so you had been off the job for about

19    five months or so at that point, correct?

20         A.     Sounds right.

21         Q.     So, were you cooperating with the D.A.'s

22    office and your department, your former

23    department at that time to prepare and assist in
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    this case or were you -- you just came in for

 3    trial because you had to with a subpoena?

 4                        MS. SPENCER:        Object to form.

 5         A.     I didn't come in because of the subpoena.

 6    I came in because I had cooperated with the

 7    assistant D.A. who was handling the case.

 8         Q.     Okay.    Did you have any contact with Joel

 9    Abelove during the Davis prosecution?

10         A.     Not that I can recollect.

11         Q.     Have you had any contact with him since

12    the incident, since you left the department?

13         A.     Not that I recall.

14         Q.     So, after the 9/9/15 interview it was

15    about three weeks, let's say, roughly until

16    August -- until October 2nd when Mike Davis was

17    arrested.      What, if anything, transpired during

18    those weeks if you can recall?

19         A.     You know, the district attorney's name is

20    Jessica Hall, was the first D.A., and I believe I

21    talked to her about it and she talked about

22    indicting him.        I think she was the one who

23    indicted him.        I'm not sure.
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         Q.     So, was it after that interview on 9/9

 3    and before the arrest on the warrant on 10/2 that

 4    you testified at the grand jury?

 5         A.     I'm going to say yes.

 6         Q.     Okay.    Did you speak -- when you met with

 7    Jessica Hall, or whomever it was, about the grand

 8    jury, did you meet with Dr. Sikirica as well or

 9    was your prep alone?

10         A.     I believe it was alone.            I don't recall.

11         Q.     Okay.    So, what do you recall next?               Do

12    you recall the day that Mike Davis surrendered or

13    anything prior to that?

14         A.     I really don't recall.

15         Q.     Okay.    When Mike surrendered what was --

16    he wasn't surrendered, he was picked up at his

17    home and brought to headquarters, correct, for

18    processing?

19         A.     Correct.

20         Q.     What was the procedure there?               Did you

21    have to do an arrest report?

22         A.     Yes.

23         Q.     We have that.        What else did you do, if
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2         Q.     And you learned and you knew that there

 3    was an affirmative duty of all police officers to

 4    intervene to stop other law enforcement officers

 5    from engaging in violations of the constitution,

 6    you -- that's something that all police officers

 7    learned, right?

 8                        MS. SPENCER:        Object to form.

 9         A.     I don't believe there was a violation of

10    the constitution for me testifying in a court

11    after I had retired but.

12         Q.     Well, if there's a prosecution going on

13    where you found there was not grounds for the

14    prosecution, you hypothetically based on your

15    training and your experience you are aware that

16    you have a duty to say something, to intervene to

17    the best that you can?

18                        MS. SPENCER:        Object to form.

19                        MR. FIRTH:       Objection.

20         A.     I was a retired police officer at the

21    time of this.

22         Q.     Okay.    So, did you feel there were no

23    grounds to prosecute Mike, but you just did it
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    because you were told to do and you retired

 3    and --

 4         A.     No.    I knew this child died and I believe

 5    Michael Davis had something to do with it.

 6                        MS. SPENCER:        Please note my

 7                objection.

 8         Q.     You just don't know what it is to this

 9    day, but you believe it was something?                  Is that

10    fair?

11         A.     I believe he caused the death of that

12    child.

13         Q.     Okay.    Well, how do you believe he caused

14    the death?        Is it just he was there and something

15    had to have happened and that's it?                 Is that a

16    fair summary, or do you have any additional facts

17    that you can set forth that form the basis of

18    that belief?

19                        MR. FIRTH:       In addition to what

20                he's already testified to today?

21                        MR. KLEIN:       Yes.

22                        MS. SPENCER:        Object to form.

23         A.     I have no additional facts of anything.
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    How's that?

 3         Q.     So, can you just summarize your basis of

 4    belief?     In other words, I don't want to say it.

 5    I want to hear you say it so it's not, you know,

 6    it's from your mouth.           Is it correct that

 7    something suspicious happened to the child, Mike

 8    was alone with her for a few hours, that's the

 9    basis of your belief or is there anything else?

10         A.     That's the basis of my belief.

11                        MS. SPENCER:        Note my objection.

12                        MR. FIRTH:       Yeah.     Note my

13                objection, too.         He testified about other

14                things as well.         The record speaks for

15                itself though.

16         Q.     When you met with Troy fire do you recall

17    learning how many chest compressions they did, in

18    other words, was it, you know, a hundred per

19    minute over 20 minutes or some other type of

20    number that you could quantify?

21                        MS. SPENCER:        Object to form.

22         A.     I don't recall.

23         Q.     Do you know approximately how many they
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    interview Mike gave you a black Motorola cell

 3    phone?

 4          A.     It's my signature.         Yes.    I can't -- I'm

 5    not going to lie, it's too far away.

 6          Q.     Well, let's make it bigger so you can see

 7    it.

 8          A.     That's good.      Okay.

 9          Q.     So, this confirms in June of 2016 after

10    you retired you gave this supporting deposition

11    saying that Mike gave you his black phone,

12    correct, during the interview on March 2nd, 2015?

13          A.     Yes.

14          Q.     Okay.   So, does that refresh your

15    recollection about the phone?

16          A.     I still don't remember but okay.               I

17    signed it.       I'm sure I did.         That's my signature.

18    Yes.       I did, but I don't remember.

19          Q.     Okay.   Did you ever inquire or

20    investigate any other -- withdrawn.

21                 When you met with Dr. Sikirica on

22    February 27th, 2015, for the autopsy, did you

23    discuss with him your conversation with Mike
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    Davis and your belief that something suspicious

 3    happened?

 4         A.     I don't recall.

 5         Q.     Okay.    Was that your practice to do so?

 6                        MS. SPENCER:        Object to form.

 7         A.     I don't -- would I tell the doctor what I

 8    thought was going on, that we had a house with a

 9    dead person and he was the only one home and we

10    don't know anything.           I'm sure I told him that.

11         Q.     Okay.    In other words, was it the

12    practice and procedure in these investigations at

13    that time for you to have an open conversation

14    with Dr. Sikirica while he's doing this autopsy

15    or, for instance, would you be in a room, you

16    know, with a window and without communication

17    with him?      Would it be --

18         A.     We would be in the room if we went to the

19    autopsy, you know, we didn't go to every autopsy.

20         Q.     In a case like this was it collaborative

21    while he was doing his work you would share what

22    you found out to see if it helps him out at all

23    or not, you would share what you knew?
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2    conversation you would have with Dr. Sikirica in

 3    these cases like Thomas and this case and any

 4    others would there be a discussion of okay, this

 5    is what you see her today, it will be helpful to

 6    have corroborative statements from the suspect or

 7    anything else?        Was there any discussion like

 8    that in sum or substance?

 9                        MR. FIRTH:       Objection.

10                        MS. SPENCER:        Object to form.

11         A.     Not that I recall with me.

12         Q.     Okay.    If this was on the 27th and there

13    were 28 days in the month and on March 1st Andra

14    Ackerman says good to meet with you yesterday,

15    which was the 28th, does it seem more likely than

16    not that there was a meeting, a post-autopsy

17    meeting the day after the autopsy?

18                        MS. SPENCER:        Object to form.

19                        MR. FIRTH:       Object to form.

20         A.     It makes sense, but I don't remember

21    everything.

22         Q.     Okay.    So, did you plan your interview of

23    Mike Davis on March 2nd at that meeting?
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 1    [RONALD FOUNTAIN - By Mr. Klein]

 2                        MS. SPENCER:        Object to form.

 3         Q.     You can answer.

 4         A.     Not that I recall.

 5         Q.     Okay.    You are not saying you didn't, you

 6    just don't remember how you came to plan that

 7    meeting?

 8         A.     Correct.

 9         Q.     Okay.    Do you think it's more likely

10    right than wrong that after attending the autopsy

11    with Ackerman and your colleagues you then met

12    with them the next day and discussed next

13    investigatory steps including the interview that

14    you then scheduled that day for the next day?

15         A.     That would make sense.            Yes.

16         Q.     Okay.

17                        MS. SPENCER:        Brett, do you mind

18                just putting your camera on?

19                        MR. KLEIN:       Oh.    I didn't realize

20                it was off.       I don't mind at all.           Sorry.

21                        I thought you were going to tell me

22                that I was still sharing my screen and

23                you are looking at my notes.
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 1

 2                              DEPOSITION of CHARLES McDONALD

 3

 4   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 5   ----------------------------------------------X
     MICHAEL DAVIS-GUIDER,
 6
                                Plaintiff,
 7
     -against-                  Civil Case No.: 1:17-cv-01290
 8                              (FJS/DJS)

 9   CITY OF TROY, RONALD FOUNTAIN, Individually,
     DANIELLE COONRADT, Individually, CHARLES
10   MCDONALD, Individually, TIM COLANERI,
     Individually, ADAM R. MASON, Individually,
11   RENSSELAER COUNTY, MICHAEL SIKIRICA,
     Individually, and JOEL ABELOVE,
12   Individually,

13                      Defendants.
     ----------------------------------------------X
14

15        DEPOSITION of the Defendant, CHARLES McDONALD,

16 held on May 26, 2021, commencing at 9:35 a.m.,

17 being held virtually by Zoom, pursuant to Notice;

18 before Susan Florio, a Registered Professional

19 Reporter and Notary Public in and for the State of

20 New York.

21

22

23
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Did you listen to the recording of the,

 3    or watch the video from the interview that you

 4    testified about at the suppression hearing?

 5         A.     Not recently, no.

 6         Q.     Okay.     So, directing your attention to

 7    February 26th, 2015, how did you become involved

 8    in the investigation of the death of V.D.?

 9         A.     We were dispatched up to the address for

10    an unresponsive child.

11         Q.     And when you say "we," who are you

12    referring to?

13         A.     Patrol and then Detective Fountain and

14    myself.

15         Q.     Okay.     Were you on duty at the time or

16    were you notified off duty because there was a

17    death?

18         A.     No.    We were on duty.

19         Q.     Okay.     And did you hear the 911 call or

20    were you just made aware of it and you responded

21    after someone told you about it?

22         A.     I believe we were called and told to

23    respond up there.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.     And did you go there with

 3    Detective Fountain?

 4         A.     I did.

 5         Q.     And walk us through what you observed

 6    when you got there?

 7         A.     Mr. Davis was outside.             His girlfriend,

 8    Rebecca was outside.           We went in.        They brought

 9    us in, showed us where the baby was.                  Prior to

10    being taken by the ambulance and everything and

11    we asked what had happened and we asked if they

12    would come down to the station and talk to us.

13         Q.     Was the baby, the decedent, V.D., was she

14    still there when you got there?

15         A.     No.

16         Q.     Okay.     And so you asked Michael and

17    Rebecca to go to headquarters with you?

18         A.     Correct.

19         Q.     And whose determination was that?

20         A.     Detective Fountain's.

21         Q.     Okay.     And was it -- I think we've heard

22    that you said also that he was the -- was he the

23    lead detective in this case?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     Yes.

 3         Q.     Okay or was it considered "his case"?

 4         A.     I guess --

 5         Q.     Well, you tell me.           I just want to know

 6    what the terminology was.              Was it assigned to

 7    Detective Fountain or to you both?

 8         A.     To both of us.

 9         Q.     Okay.     And did he -- was he senior to you

10    or did he take a lead role for some particular

11    reason even if he wasn't senior?

12         A.     Well, I was senior as far as seniority

13    goes, but he had been in the detective bureau for

14    a year, few years and I was new to it.

15         Q.     Okay.     How new to it were you?

16         A.     I was only up there for a few months.

17         Q.     Had you worked on any homicides to date

18    or was this the first one that you had been

19    assigned to work on?

20         A.     In the detective bureau?

21         Q.     Yes.

22         A.     I believe that would have been the first

23    one.      I'm not positive.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    with him and talked, asked him about his

 3    basketball career, where he talked about that and

 4    things that were not related to V.D.                  Is that

 5    right?

 6         A.     Correct.

 7         Q.     Can you just describe anything else that

 8    was said that you can recall other than small

 9    talk?

10         A.     I know he talked a little bit about his

11    upbringing.        What he had said I don't recall, but

12    that was about it.

13         Q.     Okay.     Did you get any of the

14    circumstances of how V, how he discovered V

15    unresponsive or anything he did after he

16    discovered her unresponsive?

17                         MS. SPENCER:        Object to form.         You

18                can answer.

19         A.     No.

20         Q.     Okay.     So, what was your role at that

21    point, was it to like, for lack of a better word

22    babysit him while your colleagues did some

23    digging to see, try to find out more information
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    about what happened?

 3                         MS. SPENCER:        Object to form.         You

 4                can answer.

 5         A.     Yes.

 6         Q.     Okay.     Would you call it babysitting, I

 7    mean, or what was your role?

 8         A.     Sit with him.

 9         Q.     What?

10         A.     Just to sit with him.

11         Q.     Sit with him.         Right.     Keep him occupied

12    if he stays there.           He had a right to leave, but

13    you weren't offering that to him?

14                Is it fair to say he had a right to

15    leave, but you weren't like volunteering that for

16    him?      If he wanted to go he could have, but you

17    weren't like opening the door for him to go,

18    correct?

19                         MS. SPENCER:        Object to the form.

20                If I object to form you can still answer.

21         A.     Yes.     He could have left.

22         Q.     But your job was to try to keep him there

23    voluntarily to the extent possible, correct?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2                         MS. SPENCER:        Object to form.

 3         A.     Correct.

 4         Q.     Okay.     And while Fountain was at the

 5    hospital were you getting status reports from him

 6    from time to time or were you just waiting?

 7         A.     I believe I was just waiting.

 8         Q.     Okay.     What is the next thing you recall

 9    other than making small talk with Mike Davis?

10         A.     I remember they came back down and then

11    Sergeant Colaneri and Detective Fountain came

12    back in the office and then Detective Sergeant

13    Colaneri had a sheet that he was reading off of

14    asking questions.

15         Q.     And what was that sheet?

16         A.     I don't know to be honest with you.

17         Q.     Have you inquired since then up until

18    today even if you didn't know at the time?

19         A.     No.

20         Q.     Did it seem like a medical sheet or notes

21    or do you not know?

22         A.     I want to say it was almost like a CPS

23    form.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     And what kind of things was Colaneri

 3    saying?

 4         A.     Oh, I don't recall that.

 5         Q.     Okay.     What was the nature of the

 6    conversation?

 7         A.     Just back and forth.

 8         Q.     About what though, was it known to

 9    Colaneri and Fountain that V had passed away at

10    that point and did they let Mike know?

11         A.     That I don't know.

12         Q.     Okay.     So, what was the back and forth

13    about?

14         A.     It was the questionnaire.

15         Q.     Okay.     But was it about what happened in

16    the home that morning when V was discovered

17    unresponsive in sum and substance?

18         A.     I don't recall.

19         Q.     Okay.     So, what do you recall?             How long

20    did that back and forth or that questionnaire

21    discussion go on for?

22         A.     Maybe ten minutes.           Maybe.     I don't know.

23         Q.     Okay.     And what do you recall next?
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         A.     I believe they went and got a search

 3    warrant after that.

 4         Q.     When you say "they," is that Fountain and

 5    Colaneri or anyone else?

 6         A.     Yes.

 7         Q.     Okay.     Were you not involved in that?

 8    Were you still sitting with Davis?

 9         A.     I believe I still sat with Mr. Davis at

10    that time.

11         Q.     Okay.     And what happened next?             Did they

12    get a search warrant?

13         A.     They did.

14         Q.     Okay.     Did you have any role in that or

15    you just sat by?

16         A.     I don't recall to be honest with you.

17         Q.     Okay.     What do you recall next?

18         A.     I don't remember.          I don't recall really.

19         Q.     You don't recall?

20         A.     I'm not positive that I went over -- I

21    think I might have went with them to do the

22    search warrant but I'm not positive.

23         Q.     Okay.     And so you don't remember being at
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 1    [CHARLES McDONALD - By Mr. Klein]

 2    the home.      You may have been there, you just

 3    don't remember it?

 4         A.     Correct.

 5         Q.     Okay.    And then what do you remember

 6    happened next in regards to this investigation?

 7         A.     That we wound up letting him go.

 8         Q.     Okay.    And at that time he was let go was

 9    there any reason to believe there was any

10    criminality or that he was involved in it?

11         A.     No.

12         Q.     Okay.    What was the next thing that

13    happened in this investigation that you can

14    recall?

15         A.     I believe it was the next day that we

16    went to the autopsy.

17         Q.     Okay.    And you saw a sign-in sheet

18    showing that you were there along with Fountain,

19    Colaneri, and was it Mason, or who else was

20    there?

21                        MS. SPENCER:        Objection.

22         A.     I'm not sure.        I believe Fountain, I

23    believe Colaneri and the evidence tech, which I
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.    What was your next involvement, if

 3    any, in this investigation?

 4         A.     At one point Mr. Davis was brought back

 5    in for an interview.

 6         Q.     And that interview, there were two

 7    subsequent interviews, one was on March 12th, I

 8    believe, and the other one was in September.                     Are

 9    you talking about the one in March?

10         A.     I believe so.        Yes.

11         Q.     Okay.    And what was your involvement, if

12    any, in that interview?

13         A.     I sat in with Detective Fountain.

14         Q.     Okay.    On the video that I saw Detective

15    Fountain is alone during the interview in the

16    room on the third floor with Mike Davis.                   Is that

17    a fair assessment of what was recorded on the

18    video?

19         A.     Without seeing it, yes, probably.

20         Q.     So, where would you have sat in?                Were

21    you in another room monitoring on a CTD terminal

22    or computer?

23         A.     I believe so.        Yes.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.    But you recall there being an

 3    interview.      Do you recall there being an

 4    interview closer in time to the indictment in

 5    this case?

 6         A.     I believe so.        Yes.

 7         Q.     Okay.    And you recall being part of that

 8    interview?

 9         A.     I believe I was there for that.

10         Q.     And Mike Davis was let go from that

11    interview as well, correct?

12         A.     Correct.

13         Q.     And he basically, is it fair to say he

14    said basically exactly what he told you in the

15    prior interviews?

16                        MS. SPENCER:        Object to form.

17         Q.     Or did his story change at all?

18         A.     I believe it was the same as prior.

19         Q.     So, when he left that -- can we call that

20    interview closer to the indictment the final

21    interview before his indictment, is that the

22    final one that you know?

23         A.     I believe so.        Yes.    I'm not positive.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     When he left that interview did you have

 3    any reason to believe that he committed a crime?

 4         A.     I don't recall.

 5         Q.     Okay.    Well, if it was the same

 6    information you got from the March interview, is

 7    it fair to say at that time you didn't know

 8    whether he committed a crime, you didn't have

 9    reason to believe at that time?

10                        MS. SPENCER:        Object to form.

11         A.     He didn't confess, I'll put it that way.

12         Q.     Right.     If there was probable cause for

13    arrest at that point you could have arrested him

14    pre-indictment, correct?

15                        MS. SPENCER:        Object to form.

16         A.     I believe so, yes.

17         Q.     So, do you recall there being a

18    discussion that day before he was let go, either

19    with Ron Fountain, Tim Colaneri, or anyone else

20    about letting him go because you didn't have

21    grounds to take him in?

22                        MS. SPENCER:        Object to form.

23         A.     I don't recall.
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 1    [CHARLES McDONALD - By Mr. Klein]

 2         Q.     Okay.    You are not aware of anything

 3    else?     It's not a trick question.             I just want to

 4    know if there's anything else that you can point

 5    to that supported charges here, other than

 6    information given to the D.A.'s office by your

 7    office and information provided by Dr. Sikirica.

 8         A.     Correct.

 9         Q.     Okay.    But as a -- in your training,

10    education and experience, based on your

11    conversations with Mike Davis you didn't know --

12    you didn't have reason to believe he committed a

13    crime to your knowledge, it was once Dr. Sikirica

14    provided a link that's when he was charged?                    Is

15    that a fair summary?

16                        MR. FIRTH:       Object to form.

17                        MS. SPENCER:        Object to form.

18         A.     Like I stated he never confessed.

19         Q.     So, is what I said accurate in sum or

20    substance?

21                        MS. SPENCER:        Object to form.

22                        MR. FIRTH:       Same objection.

23         A.     Correct.
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 1    [CHARLES McDONALD - By Mr. Firth]

 2          Q.    At what school or for what company?

 3          A.    It's University Heights Association.                  We

 4    do security for Sage, Albany Law School and

 5    Albany College of Pharmacy.

 6          Q.    You've been doing that since you left the

 7    PD?

 8          A.    Nope.    I've been doing that for the past

 9    three years, four years, and then I did just

10    regular security for the company before I took

11    the new position.

12                        MR. KLEIN:       Okay.     I believe that's

13                all the questions I have for you for

14                today.     I want to thank you for your time

15                and cooperation.

16                        THE WITNESS:        All right.

17                        MS. SPENCER:        Anything for you,

18                Bill?

19                        MR. FIRTH:       Yes.

20   BY MR. FIRTH:

21          Q.    Detective, just a quick, most likely a

22    single question.         Did you ever talk with anyone

23    at the D.A.'s office or were you part of any
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 1    [CHARLES McDONALD - By Mr. Firth]

 2    meeting with the D.A.'s office in terms of the

 3    basis to move forward with the indictment of

 4    Mr. Davis?

 5         A.     I believe I was present for the

 6    conference before they went to grand jury.                    I

 7    went on vacation so I wasn't around for grand

 8    jury or anything like that.

 9         Q.     Conference before the grand jury took

10    place?

11         A.     I believe so.        Yeah.

12         Q.     Who was that conference with do you

13    remember?

14         A.     I believe ADA Ackerman was there and I

15    don't remember who else was in there.

16         Q.     Anyone else from the Troy police

17    department?

18         A.     I'm sorry?

19         Q.     Was there anyone else from the Troy

20    police department?

21         A.     I don't recall.        I know Detective

22    Fountain would have been there.               I don't know if

23    anybody else was there or not.
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 1    [CHARLES McDONALD - By Mr. Firth]

 2         Q.     Okay.    Can you state at least whether

 3    Joel Abelove was present for that?

 4         A.     I can't.      I don't recall that.

 5         Q.     All right.      Do you recall having any

 6    personal discussions with Joel Abelove about this

 7    investigation?

 8         A.     I don't believe I did.            No.

 9         Q.     Okay.    Are you aware one way or another

10    whether he was actively involved in this

11    investigation?

12         A.     I believe he did the trial.              I'm not

13    positive.

14         Q.     Okay.    That aside, any other role in the

15    investigation?

16         A.     Other than probably meeting with him, you

17    know, looking into this stuff, I don't know what

18    other role he had into it.

19         Q.     As you sit here today do you know whether

20    he -- do you recall any meetings that he was

21    involved with, with respect to the investigation

22    leading up to the indictment?

23         A.     That I don't recall.           I don't recall him.
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 1    [CHARLES McDONALD - By Mr. Firth]

 2         Q.     That meeting that you attended with Andra

 3    Ackerman before the indictment, do you recall

 4    what was discussed there?

 5         A.     I believe what they were going to -- how

 6    they were going to proceed with it as far as

 7    charges.

 8         Q.     In terms of at the grand jury?

 9         A.     I believe so.        Yes.

10         Q.     You are saying you believe so, but do you

11    have any recollection one way or the other?

12         A.     No.

13         Q.     Okay.    And, to your knowledge, it was

14    just that single meeting that you had with the

15    D.A.'s office leading up to the indictment?

16         A.     I believe so.        I don't recall -- I

17    remember meeting with them once.                I don't know if

18    it was more than once.

19                        MR. FIRTH:       Okay.     Well, that's all

20                I have.     I think I said I was only going

21                to be asking one question, but that's

22                okay.     You tolerated it well.            I

23                appreciate it.
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 1

 2                              DEPOSITION of TIMOTHY COLANERI

 3

 4   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 5   ----------------------------------------------X
     MICHAEL DAVIS-GUIDER,
 6
                                Plaintiff,
 7
     -against-                  Civil Case No.: 1:17-cv-01290
 8                              (FJS/DJS)

 9   CITY OF TROY, RONALD FOUNTAIN, Individually,
     DANIELLE COONRADT, Individually, CHARLES
10   MCDONALD, Individually, TIM COLANERI,
     Individually, ADAM R. MASON, Individually,
11   RENSSELAER COUNTY, MICHAEL SIKIRICA,
     Individually, and JOEL ABELOVE,
12   Individually,

13                      Defendants.
     ----------------------------------------------X
14

15        DEPOSITION of the Defendant, TIMOTHY COLANERI,

16 held on May 26, 2021, commencing at 1:35 p.m.,

17 being held virtually by Zoom, pursuant to Notice;

18 before Susan Florio, a Registered Professional

19 Reporter and Notary Public in and for the State of

20 New York.

21

22

23
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    did you become aware to the best of your memory,

 3    if you know?

 4         A.     I don't remember.

 5         Q.     Okay.     And so what happened next?

 6    Because there was a death of a child, your squad

 7    would have responded to the scene to see what

 8    happened?

 9         A.     Well, because it was a juvenile case the

10    juvenile officers responded.               I think I was just

11    doing a canvass of the neighborhood.                  I grew up

12    near there so I knew, not everybody involved, but

13    I knew some of the people that may have been

14    potential witnesses.

15         Q.     Who did you know?

16         A.     I knew the owner of Testo's restaurant,

17    Jimmy Testo.

18         Q.     And did you ever speak with Jimmy or were

19    you present when he was interviewed by anyone?

20         A.     I was present and he said that Mr. Davis

21    came in and he tried to use the phone.

22         Q.     Did he say anything else, was Davis

23    frantic, was he calm, what did he say about
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    Davis' demeanor?

 3         A.     I don't remember.

 4         Q.     Okay.     Did you take notes during that

 5    conversation?

 6         A.     I couldn't find any notes in anything,

 7    that I wrote anything down.

 8         Q.     Okay.     Did Jimmy Testo give you

 9    information that was to your knowledge consistent

10    with Mike Davis' statements to either you or your

11    colleagues, that he tried to resuscitate the

12    baby, he went to a neighbor, he went back home,

13    then went to Testo's, then went back home which

14    is when his wife -- the baby's mother was there

15    and EMS was arriving, that general timeline did

16    that jive with what Jimmy Testo told you?

17                         MS. SPENCER:        Object to form.         You

18                can answer.

19         A.     Jimmy Testo said he came in to use the

20    phone.

21         Q.     Okay.

22         A.     And that's about it.

23         Q.     Okay.     Did he overhear the call to your
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    knowledge?

 3         A.     I'm sorry.       What was that?

 4         Q.     Did Jimmy tell you whether he overheard

 5    the call that Mike Davis made?

 6         A.     I think Mr. Davis left Testo's and went

 7    to a neighbor's house to use the phone.

 8         Q.     So he asked to use a phone.               Did Jimmy

 9    Testo tell you whether he used the phone or you

10    don't recall that?

11         A.     I don't recall that.

12         Q.     Okay.     Do you recall anything else about

13    speaking, your interview with Jimmy?

14         A.     No.

15         Q.     Did you interview anyone else from his

16    restaurant, any staff or any patrons of the

17    restaurant?

18         A.     I don't think there were any patrons at

19    the time.       It was lunchtime, but the kitchen is

20    separate from the dining area and I was next to

21    the kitchen when I was asking questions.

22         Q.     And just for the record did this

23    interview take place on the date the child passed
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    away, which was February 26th?

 3         A.     Yes.

 4         Q.     Okay.     So, I guess if you could just walk

 5    us through chronologically.              When you responded

 6    to the location was Testo's the first place you

 7    went or did you do anything else first?                    Take us

 8    through and in order.

 9         A.     Well, I'm pretty sure I got a briefing

10    from the officer at the scene and then we decided

11    to do a canvass of the neighborhood.                  I started

12    with a neighbor across the street, on the, let's

13    see, southeast corner of the intersection.

14         Q.     And what were the results of that

15    canvass?

16         A.     She said she didn't see or hear anything,

17    as far as I can recall.

18         Q.     Okay.     And what else did you do, if

19    anything, other than speak to this neighbor on

20    the corner?

21         A.     I went up and down the block and tried to

22    talk to everybody that was out or saw something

23    or heard something.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     Okay.     And did anyone have any

 3    information that was helpful?

 4         A.     Not that I recall.

 5         Q.     Okay.     And how many people did you

 6    interview other than the lady on the corner, was

 7    it two or three people or ten people?

 8         A.     Maybe four or five people.

 9         Q.     And did you conduct this canvass alone or

10    with someone, other officers?

11         A.     I think I was with someone but I don't

12    remember who.

13         Q.     Okay.     And what do you recall doing next?

14    Is that when you spoke with Jimmy Testo or did

15    you do something else first?

16         A.     Jimmy Testo was involved in the entire

17    canvass of the area.

18         Q.     He went with you?

19         A.     No.    He was at his store.

20         Q.     Okay.

21         A.     We -- not Jimmy, but myself and the

22    person I was with went all around the

23    neighborhood trying to find somebody to answer a
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    door or talk to us and during the time we

 3    interviewed Jimmy.

 4         Q.     I see.      The other officer that was with

 5    you, do you believe it was one officer or more

 6    than one other officer?

 7         A.     I think it was just one.

 8         Q.     Do you know if that officer took notes,

 9    given that maybe you were the senior officer, you

10    have a rank and file patrol officer, detective,

11    is it more than likely you had somebody taking

12    notes?

13         A.     I don't remember if they took notes or

14    not.      Generally what we would do is if they

15    answered the door we would write down the

16    address, name and contact information, and I

17    would hand out cards and so would the person,

18    handing out cards.           I didn't write anything down

19    so I don't know if the other person I was with

20    was writing stuff down or not.

21         Q.     You've had a chance to review the file

22    with your counsel, Ms. Spencer in this case, the

23    TPD file in this case?
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         A.     I reviewed some of the file, yes.

 3    Yesterday.

 4         Q.     You haven't seen any notes that appear to

 5    be from this canvass; have you?

 6         A.     No.    I haven't seen any handwritten notes

 7    at all.

 8         Q.     So, does that suggest to you that they

 9    are missing because they would have been done or

10    does that suggest to you they may not have been

11    done?

12         A.     It just may not have been done unless

13    there was some type of witness obviously to see

14    what was going on.

15         Q.     Got you.      Okay.     So, other than -- what,

16    if anything, else transpired on that canvass if

17    not already said?

18                You searched the general vicinity,

19    including Testo's, anything else of significance

20    during the canvass?

21         A.     No.

22         Q.     Okay.     What happened next?

23         A.     I don't remember.
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2          Q.    Did you go to the hospital?

 3          A.    Oh.    I think I was at the hospital prior

 4    to this, prior to going down there.

 5          Q.    Okay.

 6          A.    With the baby and the evidence technician

 7    had come up and started taking pictures and then

 8    I went to the scene after that.

 9          Q.    Okay.     Were you given any information at

10    the hospital by medical staff or anyone else?

11          A.    I don't remember.

12          Q.    Okay.     Did you know that the baby was

13    deceased?

14          A.    Yes.

15          Q.    Okay.     So you at least knew that.              Do you

16    recall whether you knew anything else or do you

17    believe that was basically it?                You had a

18    deceased baby, who you took photos of, and then

19    you went to the scene?            Is that a fair assessment

20    of what you knew at the time or was there more to

21    it?

22          A.    Well, the evidence technician took the

23    photos.      I just went there, I believe we spoke
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    with the mom very quickly.             She was up at the

 3    hospital and then we went to the scene.

 4         Q.     Okay.    And what did you do?            So, you went

 5    to the hospital pre-scene.             Then you canvassed at

 6    the scene.       What other involvement did you have

 7    that day in this investigation?

 8         A.     I believe we may have interviewed Mike

 9    Davis.

10         Q.     Okay.    And so there's about 12 minutes of

11    a cell phone video that was turned on seems like

12    mid interview, not clear at what point.                   That was

13    your cell phone, right?

14         A.     Yes.

15         Q.     Okay.    So, did you have an iPhone at that

16    time or an Android?          Do you remember what kind of

17    phone it was?

18         A.     It's most probably an Android.               I've

19    never had an iPhone.

20         Q.     So, was the interview with Mike Davis the

21    next thing that happened when you went back to

22    headquarters after the canvass or did you do --

23    were there any other investigative steps taken
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    that you can recall?

 3                        MS. SPENCER:        Object to form.         You

 4                can answer.

 5         A.     I remember I took a walk-through of the

 6    scene, but I don't remember if that was before or

 7    after the interviews.           It was probably after when

 8    the search warrant was obtained and we went up.

 9         Q.     Who conducted the interview?

10         A.     It was Ron Fountain and Officer Chuck

11    McDonald.

12         Q.     Okay.    And was Davis -- were you present

13    in the room for the interview?

14         A.     Yes.    I was.

15         Q.     So, it was you, Chuck, Ron and Michael

16    Davis?

17         A.     Correct.

18         Q.     Was anyone else present or observing it

19    even if they were in a different room?

20         A.     No.    The camera -- there were no cameras

21    in the juvenile area.

22         Q.     Okay.    Have you looked at that video to

23    refresh your recollection for today's deposition?
        Susan Florio, RPR - Professional Reporting Service - (518)887-2733
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2    rise to -- didn't -- wasn't an admission of any

 3    crime.     There was no reason to believe he

 4    committed a crime based on what he said.                   Do you

 5    agree with that?

 6                        MS. SPENCER:        Object to form.         You

 7                can answer.

 8         A.     Well, I only spoke to him the one time I

 9    believe.      I didn't do any follow-up.             So, I

10    really wouldn't know what the other detectives

11    found or didn't find or whether --

12         Q.     On that day fair to say that he didn't

13    admit to any crime and you didn't have grounds to

14    arrest him for any crime at that time?

15         A.     At that time?        No.    He was not arrested.

16         Q.     So, what did he tell you?             Did he just

17    walk you through what happened that morning

18    starting with V woke up and then she went back to

19    sleep and he fell asleep and then woke up and she

20    was unresponsive?         Was it that story that was

21    told to you at that time?

22         A.     Yes.

23         Q.     And that he then went to a neighbor, then
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 1    [TIMOTHY COLANERI - By Mr. Klein]

 2         Q.     Okay.    So, in this case Detective

 3    Sergeant Parrow, your colleague, interviewed

 4    Firefighter Bayley, other firefighters as well.

 5    Were you aware of that generally or have you seen

 6    their supporting deps specifically?

 7         A.     I have not seen their depositions.

 8         Q.     Do you recall being at headquarters

 9    during some or any or all of these interviews?

10         A.     I don't understand.          I wasn't on Mike

11    Parrow's interview I don't believe.

12         Q.     Okay.    So, Mike Parrow's interviews refer

13    to -- withdrawn.

14                Do you know how those interviews, those

15    supporting deps were delegated out to Parrow?

16    Did he step up for it or did you assign people

17    different tasks?         How would he have been involved

18    in that?

19         A.     I was not the lead detective in this and

20    I didn't assign anybody any task.                That would be

21    the captain of the detectives who would assign

22    the tasks and who would determine who was the

23    lead detective.
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 1      STATE OF NEW YORK

 2      COUNTY COURT                                  COUNTY OF RENSSELAER

 3                                 - - - - - - - - - - - - - - - - - -                      X

 4      THE PEOPLE OF THE STATE OF NEW YORK

 5      - against      -                               Indictment      #15-1094

 6      MICHAEL DAVIS,

 7                         Defendant.

 8                              - - - - - - - - - - - - - - - - - - -                       X

 9      CONTINUATION OF SUPPRESSION HEARINGS

10
                                                      County Courthouse
11                                                    Congress    and Second Streets
                                                      Troy,    New York 12180
12                                                    July 7, 2016

13      Before:

14                         HONORABLE ANDREWG. CERESIA,
                           County Court Judge.
15
        Appearances:
16
                              For the People:
17                            JOEL ABELOVE, ESQ.,
                              District    Attorney,    Rensselaer County,
18                            by CINDY CHAVKIN, ESQ., Assistant        District
                              Attorney,    of counsel,
19                            Rensselaer     County Courthouse
                              Troy,    New York.
20
                              For the Defendant:
21                            JOHN C. TURI, ESQ.,
                              Public     Defender,   Rensselaer County,
22                            by WILLIAM ROBERTS, ESQ., Assistant                      Public
                              Defender,      of counsel,
23                            Rensselaer      County Courthouse
                              Troy,   New York.
24
                              MICHAEL DAVIS,              Defendant,      in person.
25

                                               Judy     A. DeiCogiiano
                                    0££iciai          Senior  Court Reporter
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 1               A.          I don't         believe              so.

 2                Q.         Do you         recall            when _the           search            warrant       was issued?

 3               A.          February             26,      2015.

 4                Q.         And was the                search           warrant             executed?

 5               A.          Yes,      it    was.

 6               Q.          When was the                  search             warrant         executed?

 7               A.          February             26,      2015,         after          it    was signed.

 8                Q.         And did         you have               a copy          of       the      search      warrant         with

 9      you when you executed                           the       search          warrant?

10               A.          Yes,      I did.

11               Q.          Who executed                  the      search         warrant?

12               A.          Myself,         at      the         time         Officer         Buttafucco,              and     I believe

13      Sergeant          Tim Colaneri.

14               Q.          And can         you please                  describe             the      search?

15                                     THE COURT:                   Actually,                before       you do that,                what

16               was the            date     the        search           warrant             was executed?

17                                     THE WITNESS:                      Same date,                 February        26,       2015.

18                                     THE COURT:                   Thank         you.

19               A.          We went         into        the        residence.                     The evidence           technician

20      photoed        it,     grabbed             some of              the     bedding.               He took         a few other

21      items      that       we thought                might        have         been        pertinent           to    the     case,

22      and     then      we left           the      house.

23               Q.          Was Michael                Davis           present          during         the      search        warrant?

24               A.          No,     he was not.

25               Q.          Do you         know where                  he was?

                                                             Judy     A. Deicogiiano
                                                  Officiai          Senior  Court Reporter
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                                                               FORENSIC MEDICAL SERVICES
cAsE #:            Ms ,5- r2D                                      50 BROAD STREET
DECEDENT:~                                                        WATERFORD, NY 12188
DATE:   ~2-]
                                                 1
                                                  20t)                (518) 237-3211
                                                                    Fax (518) 237-7423




                                                                                                                                                               Case 23-589, Document 76, 01/17/2024, 3604433, Page107 of 166
                                                                    SIGN IN SHEET
                                                                  MEETING / AUTOPSY


  TITLE                      PRINT NAME                                        SIGNATURE        REPRESENT                                  CONTACT#
 (Ex. Det./Inv.)                   (CLEARLY)                                                (Ex. NYSP or Albany Police)


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 2                             DEPOSITION of JOEL ABELOVE

 3

 4   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 5   ----------------------------------------------X
     MICHAEL DAVIS-GUIDER,
 6
                               Plaintiff,
 7
     -against-                 Civil Case No.: 1:17-cv-01290
 8                             (FJS/DJS)

 9   CITY OF TROY, RONALD FOUNTAIN, Individually,
     DANIELLE COONRADT, Individually, CHARLES
10   MCDONALD, Individually, TIM COLANERI,
     Individually, ADAM R. MASON, Individually,
11   RENSSELAER COUNTY, MICHAEL SIKIRICA,
     Individually, and JOEL ABELOVE,
12   Individually,

13                      Defendants.
     ----------------------------------------------X
14

15        DEPOSITION of the Defendant, JOEL ABELOVE,

16 held on May 28, 2021, commencing at 9:35 a.m.,

17 being held virtually by Zoom, pursuant to Notice;

18 before Susan Florio, a Registered Professional

19 Reporter and Notary Public in and for the State of

20 New York.

21

22

23
        Susan Florio, RPR - Professional Reporting Service - (518)887-2733
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 1    [JOEL ABELOVE - By Mr. Klein]

 2        Q.     Okay.

 3         A.    He's testified for me before in cases.

 4        Q.     Okay.     And this idea, this fact that came

 5   out at trial that he did over 700 autopsies a

 6   year in 2015, is that something that was known to

 7   you before this trial?

 8         A.    I don't recall.         I know I knew it at some

 9    point.    I don't know when I knew that number.

10        Q.     Okay.     Were you aware of the volume of

11   autopsies he had performed per year during the

12   years that you were an ADA in the office, had it

13   ever come up?

14         A.    I don't believe so.

15        Q.     When did you take office?

16         A.    January 1st, 2015.

17        Q.     Okay.     You came in after the Adrian

18   Thomas trial, but were you familiar with the

19   outcome of that trial, the Court of Appeals

20   decision and then the outcome of that trial?

21         A.    I think at some point I was made aware of

22    it or I became aware of it.              I don't recall how.

23        Q.     Did it ever come to your attention that
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 1    [JOEL ABELOVE - By Mr. Klein]

 2    they may need or, you know, whether it's a grand

 3    jury subpoena or a judicial subpoena, have our

 4    office assist them in any way that they need for

 5    their investigation.          That's about it.

 6        Q.     The autopsy was conducted the day after

 7   the death, which was February 27th, 2015.                    Are

 8   you aware of that from looking at notes or just

 9   generally does that sound right?

10         A.    Well, I'm not aware of it from looking at

11    any type of notes but generally that does sound

12    right.    The autopsy is often the following day.

13        Q.     And there's a sign-in sheet from that

14   autopsy where Andra Ackerman is there together

15   with a number of Troy PD officers and I believe

16   an evidence tech and someone from the Rensselaer

17   medical examiner's office.

18               But generally do you recall that Andra

19   Ackerman was assigned to work, that she otherwise

20   attended the autopsy?

21                        MS. PECK:      Object to form.

22                        MS. SPENCER:        Object to form.

23         A.    I don't recall that she attended the
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 1    [JOEL ABELOVE - By Mr. Klein]

 2    autopsy.     I know she was assigned to be the

 3    person from my office who was the liaison with

 4    the Troy Police Department to help them with

 5    their case.

 6        Q.     And is her name Andra, not Andrea,

 7   A-n-d-r-a?

 8         A.    Correct.      Andra.

 9        Q.     And what was her job or role in your

10   office at that time?

11         A.    She was an assistant district attorney.

12        Q.     Did she have a supervisory role or was

13   she like a line assistant?

14         A.    Her immediate supervisor would have been

15    my Chief Assistant District Attorney Jessica Hall

16    who then reports to me.

17        Q.     And Jessica Hall remained your chief

18   assistant through conclusion of the Davis trial,

19   is that fair?

20         A.    Yes.

21        Q.     Okay.     So, would you have been involved

22   in assigning Andra Ackerman to attend the autopsy

23   or was Jessica Hall involved in that or it could
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 2                                    DEPOSITION of ADAM MASON

 3

 4   UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF NEW YORK
 5   ----------------------------------------------X
     MICHAEL DAVIS-GUIDER,
 6
                               Plaintiff,
 7
     -against-                 Civil Case No.: 1:17-cv-01290
 8                             (FJS/DJS)

 9   CITY OF TROY, RONALD FOUNTAIN, Individually,
     DANIELLE COONRADT, Individually, CHARLES
10   MCDONALD, Individually, TIM COLANERI,
     Individually, ADAM R. MASON, Individually,
11   RENSSELAER COUNTY, MICHAEL SIKIRICA,
     Individually, and JOEL ABELOVE,
12   Individually,

13                      Defendants.
     ----------------------------------------------X
14

15        DEPOSITION of the Defendant, ADAM MASON, held

16 on May 21, 2021, commencing at 1:20 p.m., being

17 held virtually by Zoom, pursuant to Notice; before

18 Susan Florio, a Registered Professional Reporter

19 and Notary Public in and for the State of New

20 York.

21

22

23
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 1    [ADAM MASON - By Mr. Klein]

 2        Q.     Okay.     Has there been any discussion as

 3   to whether there should be any change in

 4   procedures, training or guidelines with regards

 5   to interrogation tactics since that decision that

 6   were ultimately not implemented?

 7         A.    Not to my knowledge.

 8        Q.     Okay.     Did that decision in that case and

 9   the outcome of that case hold you back -- it

10   didn't hold you back from getting promoted to

11   captain, right?

12                        MS. SPENCER:        Object to the form.

13         A.    No.

14        Q.     Okay.     Do you have any plans to retire or

15   are you up for any other promotions or are you

16   captain and on the job for now?

17         A.    I am not up for any other promotions and

18    I have no immediate plan to retire.

19        Q.     Okay.     So, going back to February 26th of

20   2015, can you walk us through your involvement in

21   these events, how you came to hear about it,

22   what, if any, involvement you had and we'll go

23   from there?
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 1    [ADAM MASON - By Mr. Klein]

 2         A.    I was inside the offices of the detective

 3    bureau and I was aware that an incident that

 4    occurred involving an infant death and Detective

 5    Fountain had returned to the detective bureau and

 6    he was having a conversation with the detective

 7    captain, Sprague, at the time, and he had

 8    indicated that -- his conversations with Michael

 9    Davis and the infant's mother, I don't recall her

10    name.

11        Q.     Rebecca Parker.

12         A.    That they hadn't gone very well.                 I don't

13    recall the exact terminology.              So, it was

14    suggested by the detective captain that myself

15    and Sergeant Parrow go to the residence and kind

16    of like just repair, if there was any damage

17    caused in the previous interactions with

18    Detective Fountain, just kind of repair that

19    damage and have a conversation.               At which point

20    myself and Sergeant Parrow drove to the Old Judge

21    Manor I believe it's called where they were

22    staying at the time.          We went inside.          I remained

23    in the front room.          I did not have any
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 1    [ADAM MASON - By Mr. Klein]

 2    interaction with either individual.                 And Sergeant

 3    Parrow in a different room I believe had a

 4    conversation with Mike Davis.              Upon the

 5    completion of that conversation, we left and went

 6    back down to the detective bureau.                 And I don't

 7    recall when it was, I had no further involvement

 8    at that point.        And then at some point there was

 9    a discussion about interviewing Mike Davis.                    And

10    there was a -- talk about myself interviewing

11    him.     Then there was a meeting with Dr. Sikirica,

12    the ADA, and myself, Sergeant Parrow, I believe,

13    Detective Fountain was there, and I'm not sure

14    who else was there but I'd refer to that sheet

15    where it was discussed on whatever course was

16    going to happen with the case.               And that was the

17    extent of my involvement.             I did not interview

18    him and I had no further involvement after that.

19        Q.     Okay.     Thank you.       So, this -- going back

20   to the date of V's passing.              When you ^ CHECK say

21   said that ^ CHECK the Fountain was informing

22   Captain Sprague that the conversations had not

23   gone well with Michael Davis and Rebecca Parker,
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 1    [ADAM MASON - By Mr. Klein]

 2   specifically whether there would be another

 3   interview by you or Fountain, and what is your

 4   understanding of how that played out?

 5         A.    I was not assigned to the investigation.

 6    I didn't work the investigation.                And there was a

 7    discussion on interviewing him.               And my interview

 8    skills were respected within the office so my

 9    name was brought up.          And being that I really

10    didn't know much about the suspect or much about

11    the investigation, I was not in favor of just

12    stepping in at that point in time to interview,

13    but I was willing to entertain the thought and we

14    had a conversation about it and that's what that

15    particular meeting was.            And there was some

16    discussion about the incident.               I don't recall

17    specifically what information I obtained, but

18    ultimately I decided not to take the lead on that

19    particular interview.

20        Q.     Okay.     Was it your understanding that

21   this was a collaborative team among the medical

22   examiner's office, the D.A.'s office, and your

23   department working together to push forward with
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 1    [ADAM MASON - By Mr. Klein]

 2   this investigation, or was there one particular

 3   person or agency driving it?

 4                        MS. SPENCER:        Object to the form.

 5                        MR. FIRTH:       Same objection.

 6         A.    No.    I agree that it was collaborative.

 7        Q.     And Dr. Sikirica, was he part of the

 8   strategy going forward with who would question

 9   Michael Davis and what kind of information was

10   needed to enhance or further the charges going

11   further?

12                        MR. FIRTH:       Objection.

13                        MS. SPENCER:        Object to the form.

14         A.    I don't believe that's an accurate

15    statement.       I think he was there to provide

16    information, but I don't believe that he played a

17    role in any tactics that were used.

18        Q.     Well, when you say you don't believe, was

19   there a discussion among Sikirica, ADA Ackerman,

20   and your colleagues about what medically -- what

21   was presented, you know, on the autopsy and what

22   information was needed essentially in sum or

23   substance from Michael Davis to proceed with a
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 1    [ADAM MASON - By Mr. Klein]

 2   criminal case?         Was there such a discussion in

 3   that room?

 4                        MS. SPENCER:        Objection.       Object to

 5               form.

 6         A.    I specifically remember Dr. Sikirica

 7    stating that he -- the death was the result of a

 8    homicide.      I don't recall what particular organs

 9    were damaged inside the victim, but I remember

10    him stating that one of the organs was, I think

11    the phrase he used was ground like hamburger meat

12    and that it appeared as though it was caused by

13    someone's large hands squeezing the child.                    I

14    remember sum and substance a conversation similar

15    to that.     So, I think he, you know, his role in

16    the meeting was just providing his medical

17    expertise as to, you know, the cause of the

18    death.    But not necessarily, you know, moving

19    forward who would conduct an interview or any of

20    those particular tactics.

21        Q.     Now, ten days earlier Ron Fountain did an

22   interview with Michael Davis where he had Michael

23   Davis demonstrate how he tried CPR, and that
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 Ron.Fountain

 From:                         Ackerman, Andra <AAckerman@rensco.com>
 Sent:                         Sunday, March 01, 2015 11:38 AM
 To:                           Ron.Fountain; Tim.Colaneri
 Cc:                           Abelove, Joel
 Subject:                      child fatality investigation



 Hey there!

 A few things I just wanted to make sure that I can get to review as soon as you are able to get them
 to me.

A copy of all of the depositions of the fire dept and EMS who responded to the scene. If possible I
would like the depositions to include how the child appeared (e.g. any rigamortis/levitity/ blood/vomit/
etc .. as well as everything they can remember about what the suspect says happened to the child -
what he did - how the child appeared, etc ....

A copy of all of the EMS and fire dept completed paperwork. If you need any assistance with this -
like if you need me to subpoena it please let me know. I just do not know yet who the EMS company
is so it might be quicker if they will give it to you with a phone call.

A copy of all CPS paperwork on this - Ron you mentioned they will give it to you with a call from
you. Thanks so much.

A copy of any depositions taken from neighbors. If they heard anything relating to a child
crying/suspect yelling/ him coming/going - anything he may have said to them or that the babys'
mother said to them as well as any past suspicious behavior or sounds coming from the home like
fighting/crying etc ....

A copy of any depositions from any family members or friends that spoke with the suspect. What he
told them happened that day. I subpoena's his cell phone records so we will see who he has been
speaking with shortly before and after 911 was called - I will give those to you once I receive them.

I will subpoena the hosptital records - from NYC at birth from the information you gave me as well as
the hospital records relating to this death. Can you give me all hospitals that you know of. I will get
AMC but did she go to a hospital in this county first?


A copy of the 911 call.

A copy of all videos that you are able to obtain.

Any prior CPS history on this guy or domestic history that you can find?


I want to thank you both for including me in on the meeting yesterday and making me feel like part of
the team. I have always found that when everyone is able to work together the cases are much
stronger. So thanks again. If you need anything from me please let me know how I can help.
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                                                                                                                     FORENSIC MEDICAL SERVICES                                                     1778
                                                                CASE#: ffi2'· \ G- Ids 0                                  50 BROAD STREET
                                                                DECEDENT: \J                                            WATERFORD, NY 12188
                                                                                                                             (518) 237-3211
                                                                DATE: 3 ld.-\5                                             Fax (518) 237-7423


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                                                                                                                                                                                     CONTACT NUMBER
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                                    MICHAELSIKIRICA,M.D.
                                        50 Broad Street
                                   Waterford, New York 12188
                                      TEL (518) 237-3211
                                      FAX (518) 237-7423




     I, Michael Sikirica , M.D., Forensic Pathologist, certify that to the best of my knowledge,
     the attached twenty page report is a true and accurate copy of the original final autopsy
     report dated August 14, 2015, following the autopsy that I performed on --              on
     February 27, 2015, at the Albany Medical Center, Albany,       NY.




            ~~ ~
        p
            ~~~- -                     -
     Michael Sikirica, M.D.
     Forensic Pathologist
     DATED: August 14, 2015




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         FINAL AUTOPSY REPORT

         CASE#:                      MS-15-120
                                     OCA-15-46 (Albany Medical Center)
                                     15-02-092 (RCME)

         DECEDENT:

         DATE OF BIRTH:

        PRONOUNCEMENT DATE:          February 26, 2015

        PRONOUNCEMENT TIME:          2:08 PM

        DATE OF AUTOPSY:             February 27, 2015, 9:30 AM

        PLACE OF AUTOPSY:            Albany Medical Center, Albany, NY

        PROSECTOR:                   Michael Sikirica M.D.

        ASSISTING:                   Mrs. Sarah Bourdon

        INVESTIGATOR:                Mr. Michael Ziegler, Rensselaer County

        MEDICAL EXAMINER:            Michael Sikirica, M.D., Rensselaer County



        Cause of Death:              Hypovolemic shock due to large hemoperitoneum due to
                                     multiple lacerations of the liver with right rib fractures due to
                                     blunt force trauma


        Manner of Death:             Homicide




        Michael Sikirica, M.D./nw
        DATE: ?-~·/'-/,,. ;Zo /.:5




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                                   External Description



          The body is received in a small white plastic body pouch. There is a medical

 examiner's tag attached to the pouch listing the decedent's name and date of

with the date and time of death listed. The tag also lists the names of Investigator

Ziegler and Rensselaer County and case number 15-2-92 with lock number 406847

listed. The pouch is secured with a blue plastic lock number 406847 and the lock is in

place and intact. The body is that of an 86 cm, 27 pound normally-developed, well

nourished black female toddler appearing the reported age of 2 to 3 years with

moderate rigor mortis and slight posterior fixed livor mortis. The body temperature is

cool to the touch after refrigeration. The general appearance of the body is of good

health and hygiene.

         The body is received wrapped in a white sheet. The body is received

unclothed. There is no jewelry present on the body or included with it. The following

measurements are obtained:

         Head circumference: 49.5 cm
         Chest circumference: 48.5 cm
         Abdominal circumference: 46.5 cm
         Crown to rump length: 55 cm
         Distance between inner canthi: 2. 7 cm
         Distance between outer canthi: 8.5 cm
         Distance between nipples: 11 cm
         Length of the right foot: 13 cm
         Length of the left foot: 12.8 cm.

         The scalp hair is black and arranged into small braids. The irides are brown.

The right and left pupils each measure 3 to 4 mm in diameter. The corneas are clear

and the sclerae and conjunctivae are unremarkable. The face is symmetric and the




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 facial bones are intact to palpation. There are no materials in the mouth, nose or the

 ears. The teeth are natural and in good condition and consistent with age. There is no

 injury to the lips, teeth or gums. The neck is free from masses. There are no unusual

 marks or lesions on the skin of the neck. The larynx is midline and the thyroid not

 palpable. The chest is of normal contour. The breasts are those of a toddler female.

The abdomen is mildly protuberant and firm. The posterior torso shows no significant

abnormalities. The upper extremities are symmetric, and the fingernails are intact and

show no foreign material. No clubbing or cyanosis is noted. The external genitalia are

those of an immature female. There is no evidence of injury or abnormal secretions.

The hymen is intact. The buttocks and anus are unremarkable. The skin is black in

color and smooth. There is a very small scar beneath the lateral right eyebrow. There

are no additional scars noted. Passive motion of the head, neck and extremities reveals

no abnormal mobility or crepitus. There is no unusual odor about the body.



                           Evidence of Recent Medical Therapy



          There are square EKG pads present along the upper anterior left shoulder and

the distal medial portion of each calf. There are circular impressions consistent with

adhesive pad type residue along the left upper chest, right upper chest and the lateral

right shoulder. There is a hospital identification bracelet around the right wrist listing the

decedent's name and date of birth with a medical record number 521200. There is an

intraosseous port inserted into the upper portion of each calf with a large bandage

covering the left port and smaller bandage over the right port.




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                                       Evidence of Injury



          There is slight lifting along the toenail of the right great toe without evidence of

 significant bruising or hemorrhage.



                                Procedure and Specimens



          The organs are exposed utilizing the standard Y-shaped thoracoabdominal

and posterior scalp incisions. Cardiac blood, vitreous fluid, and blood from the

abdominal cavity are taken for toxicologic evaluation and submitted to the Forensic

Toxicology Laboratory at the Albany Medical Center. An additional lavender top blood

sample tube is retained for further testing if needed. Prior to removing the decedent

from the body pouch and cleaning multiple additional samples are obtained. Samples

are obtained including swabs from the right upper thigh, swabs from the left upper thigh,

nail scrapings, pulled head hair, swabs of the anterior left and right neck, vulvar swabs

and smears, anal swabs and smears, perianal swabs, oral swabs and smears and an

additional buccal reference sample. All the swabs and smears are transferred to the

officers present from the Troy Police Department. Representative portions of the major

viscera are retained in formalin and appropriate sections processed for microscopic

slides. Present at the autopsy are Evidence Technician Anthony Buttofucco along with

Detectives Charles McDonald, Ronald Fountain and Tim Colaneri. Assistant District

Attorney Andra Acherman is also present at the examination along with Rensselaer

County Medicolegal Death Investigator Mr. Michael Ziegler. The autopsy is assisted by




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 autopsy assistant Mrs. Sarah Bourdon. Prior to toxicology sampling blood cultures are

 obtained from the inferior vena cava for bacterial studies. Tissues are obtained from

 each lung for viral and bacterial studies using sterile technique. Multiple skeletal x-rays

 are obtained and evaluated. An additional dried blood sample is submitted for

 metabolic screening. A copy of the decedent's recent emergency room records from

 Seton Health Services/St. Mary's Hospital is also received and evaluated with the

 decedent's name and medical record number M000521200. Additional records for the

decedent from the West Care Medial Associated are also received and evaluated. A

sketch of the scene where the decedent was living is also received from the officers in

the report material. Photographs of the decedent taken at the emergency room are also

obtained. A disc of a video interview taken by the Troy Police Department from Michael
                   nd
Davis on March 2        , 2015 is also later received and reviewed.    Copies of additional

depositions are also received from Rebecca A. Parker (DOB                       ), Russell E.

Brown (DOB                    , Michael Bayly (DOB-),           James D. Tidings (DOB

            ), Jason S. Lucey (DOB_),                   Frank H. Shoemaker Ill (DOB

_),           Michael I. Rustin (DOB                    and Kathleen Crisafulli (DOB

            ). A copy of a Troy Police Department Incident Report for the decedent is

also later received and evaluated with incident number 20320.




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                                    Internal Examination



          Thoracoabdominal incision reveals approximately 1 cm of normal appearing

 abdominal panniculus. The thoracic and abdominal viscera have normal anatomic

 relationships with evidence of injury to be described.

 Body Cavities

          There are no significant fluids in the pleural or peritoneal cavities. There are

approximately 350 mis of liquid blood (measured) and a slight amount of blood clot in

the abdominal cavity. There are no significant adhesions.

Musculoskeletal System

          The skeletal muscles are firm and normally developed. There are fractures

along the posterior aspects of the right gth and 1oth ribs with associated hemorrhage and

slight hemorrhage but without fracturing along the posterior right sth rib.

Neck Organs

          The larynx and thyroid gland are unremarkable. The thyroid is

homogeneously tan/brown without nodularity. The laryngeal cartilages and hyoid bone

are intact. There are no laryngeal hemorrhages or hemorrhages in the soft tissues of

the neck. The carotid arteries and jugular veins are intact. The cervical spine is intact.

Respiratory System

         The right lung weighs 95 grams, the left 104 grams. The pleural surfaces are

smooth and glistening. There is no significant anthracotic pigmentation and there is

only mild diffuse vascular congestion. Upon sectioning there are no focal lesions. The




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 tracheobronchial and arterial trees are unremarkable. No aspirated material or

 thromboemboli are found.

 Cardiovascular System

          The pericardia! sac is intact and contains a few mis of normal serous

 pericardia! fluid. The heart weighs 61 grams and has a normal external configuration

 with a glistening epicardial surface and a normal amount of epicardial fat. The

 myocardium is firm and red/brown and shows no focal lesions. The cardiac chambers

are of normal size and contain clotted blood. The right ventricle measures 2 mm and

the left ventricle 6 mm in maximum thickness. The cardiac valves are normally formed

and appear in good functional condition with thin pliable valve leaflets and thin discrete

tendineae chordae. The mitral valve measures 52 mm, the tricuspid 75 mm, the

pulmonary 35 mm and the aortic 35 mm in circumference. The endocardium is smooth

and glistening without fibrosis or petechiae. The coronary arteries arise normally

through unobstructed ostia and pursue their usual anatomic course. Serial cross

sections at 2 mm intervals reveal no significant anomalies. The atria and appendages

are normal. The aorta is of normal caliber and branching distribution and is intact with

no anomalies. The vena cavae is intact and unremarkable.

Liver and Biliary Tree

          The liver weighs 327 grams and has a smooth capsule and normal brown

coloration and soft lobular architecture. There is a jagged laceration along the posterior

aspect of the left lobe measuring 5 x 5 x 0.5 cm in size and an additional laceration

along the anterior aspect of the medial left lobe measuring 2.5 x 1.4 cm. There is an

additional laceration along the upper right lobe measuring 7.5 x 0.5 cm with tearing off a




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 significant portion of liver tissues and a perforation along the posterior right lobe

 measuring 1.8 x 0.4 cm with a second measuring 1 x 0.3 cm in size. There is additional

 slight tearing along the caudate and quadrate lobes. There is a zone of posterior chest

 wall hemorrhage behind the liver measuring approximately 18 x 30 cm in size. The

gallbladder is flat appearing. The remainder of the extrahepatic biliary system is

 unremarkable.

Spleen

           The spleen weighs 19 grams and has a smooth intact capsule and normal

purple coloration with an indistinct white pulp. There is no evidence of traumatic injury.

Pancreas

           Firm lobulated tan parenchyma

Adrenals

           Thin bright yellow/orange cortical ribbons and tan medullae

Genitourinary System

           The right kidney weighs 51 grams, the left 48 grams. The capsules strip easily

to reveal slightly pale cortical surfaces with a normal persistent fetal lobulation pattern.

There are no parenchymal lesions. The ureters are patent into the bladder, which is

empty and is otherwise unremarkable. The internal reproductive organs are present

and normal for age without disease or injury.

Gastrointestinal System

           The esophagus is unremarkable. The stomach contains a trace of brown fluid

without identifiable digestate. There are no recognizable fragments of tablets or

capsules. The mucosa and rugae are flat and slightly autolyzed but otherwise




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 unremarkable. The small and large intestines and appendix have a normal

 configuration and show no evidence of significant traumatic injury and the appendix is

 unremarkable.

 Brain

          The scalp is retracted by an intermastoidal incision. There are no subgaleal

 hemorrhages. The bones of the calvarium and base of the skull are intact. The fresh

brain weighs 1129 grams. The cerebral hemispheres are symmetric with a normally

developed gyral pattern. There is no evidence of epidural, subdural or subarachnoid

hemorrhage. The meninges are clear. The cerebral vasculature is intact with no

significant anomalies. Serial coronal sections through the cerebrum, cerebellum and

brainstem reveal a myelination pattern consistent with age without focal lesions.

Stripping the dura reveals no fractures. The pituitary gland is not enlarged.



                          Microscopic Examination (slides 1-25)



          Portions of the major internal organs are examined microscopically including

sections of brain, heart, lungs, liver, kidneys and additional tissues and organs as

required. Sections of the lungs reveal patchy areas of acute congestion and slight

atelectasis but no evidence of significant acute or chronic inflammation. There is patchy

hemorrhage in the alveolar spaces. Sections of the kidneys are unremarkable and no

significant crystals are noted in the kidney parenchyma under polarized light

examination. Sections of the adrenal glands are unremarkable. Sections of the

myocardium show no significant pathologic abnormalities. A section of trachea is




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unremarkable. A section of thymus reveals evidence of focal petechial formation

without evidence of a significant ongoing stress reaction. Sections of the spleen are

unremarkable. A section of thyroid gland shows no significant pathologic abnormalities.

A section of pancreas is unremarkable with no evidence of hemorrhage, necrosis or

inflammation. Sections of the liver reveal acute congestion and foci of intraparenchymal

hemorrhage without other significant pathologic abnormalities. Sections of the brain are

unremarkable.



                                      Anatomic Diagnoses



   I.       Hypovolemic shock due to large hemoperitoneum due to multiple lacerations

             of the liver with right rib fractures due to blunt force trauma.

             a. History of decedent reportedly found unresponsive with reported history of

                attempted cardiopulmonary resuscitation by a large adult.

             b. Approximately 350 mis of bloody fluid and a small amount of blood clot in

                the abdominal cavity.

             c. Multiple lacerations of the left and right lobes of the liver.

             d. Fractures along the posterior aspects of the right 9th and 10th ribs with

                hemorrhage in the surrounding muscular and soft tissue.

  II.       No evidence of significant natural disease.

  Ill.      No evidence of significant infection noted in the lungs by bacterial and viral

             culture analysis.

  IV.       No evidence of significant sepsis or bacteriemia by blood culture analysis.




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V.    No significant findings by noted by toxicology evaluation.

VI.   Elevated level of Thyroid Stimulating Hormone (TSH) detected in metabolic

      screen consistent with hypothyroidism.




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                                                     Bridgeville, PA 15017
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    Initial Release: 03/04/2015 10:58
   Date Collected 02/27/2015       Date Recvd: 03/02/2015      Birth Date:
        Submitter: Forensic Medical Services                Cond. of Spec:
      Filter Paper: 8938015           Patient's Name: UNKNOWN                   Sex: F
      PS ID:        6093182         AKA Name:
   Accession No: 2015058380 Med. Rec. No: MS15-120
   Mother's Name: UNKNOWN                                      Physician: SIKIRICA, MICHAEL


                         Autopsy Specimen Report
   Screening Test                                                    Outcome
  Acylcarnitine Profile                                              Negative
  CAH 17-0HP                                                         Negative
  Congenital Hypothyroidisrn-TSH                                     Abnormal
  Galactose- (Gal and Gal-1-P)                                       Negative

 OUTCOME DEFINITIONS
 ABNORMAL - The analyte detected exceeds the concentration usually found in such analyses. A text explanation of the finding is
 included. Interpretation should be in conjunction with other findings.

 NEGATIVE• The analyte detected does not exceed the concentration usually found in such analyses. Interpretation should be in
 conjunction with other findings.

 SELECTED REFERENCE RANGE
 17 OH P
 Cutoff values for 17 hydroxyprogesterone are age dependent. For infants less than 91 days of age.abnormal is defined as a value > 19.0
 ng/ml; for infants 91 days to 1 year of age, abnormal is > 5.0 ng/ml; for age > 1 year, abnormal is > 4.0 ng/mL. Note new reference
 range for 17-hydroxyprogesterone effective November 1, 2010.

 TSH
 Cutoff values for TSH are age dependent. For infants < 7 days of age.abnormal is defined as a TSH value >50 ulU/ml; for infants 7
 days or older, abnormal is > 30 ulU/ml.

 GAL
 Abnormal is defined for all infant ages as a total galactose > 20 mg/dl.


 Comments:
 TSH = 36.7 µIU/mL (Abnormal> 30.0)

 In the absence of histological evidence of hypothyroidism, a moderate elevation in TSH in an autopsy blood sample may be the result of
 an autolytic process occurring after death rather than an indication of disease.




The results of PerkinElmer Genetics post-mortem testing are analytically accurate within the limits of the test technology used. Factors
including specimen source, quality of specimen and patient variables will affect results. Limited information on reference ranges is
available. Interpretation of results should be in conjunction with additional clinical or laboratory evidence to help support or disprove the
presence of a specific disorder.



17OHP, IRT, T4 and hTSH • Time-resolved fluoroimmunoassay
Acyl-carnitines, Amino Acids, and Organic Acids - Tandem Mass Spectrometry
Biotinidase, DHPR • Enzymatic colorimetric assay       Hemoglobin • !so-electric focusing                                    --~
DNA Mutation Analysis - PCR and allele specific hybridization                                                                OK
Galactose, G6PD and Uridyf Transferase • Enzymatic fluorometric assay
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      Filter Paper: 8938015           Patient's Name: D_,                          ~                                Sex: F
      PS ID:        6093182        AKA Name
   Accession No: 2015058380 Med. Rec. No: MS15-120
   Mother's Name: UNKNOWN                                                                      Physician: SIKIRICA, MICHAEL


                          Autopsy Specimen Report
     Screening Test                                                  Outcome
  Acylcarnitine Profile                                              Negative
  CAH 17-OHP                                                         Negative
  Congenital Hypothyroidism-TSH                                      Abnormal
  Galactose- (Gal and Gal-1-P)                                       Negative

  OUTCOME DEFINITIONS
 ABNORMAL - The analyte detected exceeds the concentration usually found in such analyses. A text explanation of the finding is
 included. Interpretation should be in conjunction with other findings.

  NEGATIVE - The analyte detected does not exceed the concentration usually found in such analyses. Interpretation should be in
  conjunction with other findings.

  SELECTED REFERENCE RANGE
  17 OH P
  Cutoff values for 17 hydroxyprogesterone are age dependent. For infants less than 91 days of age.abnormal is defined as a value > 19.0
  ng/mL; for infants 91 days to 1 year of age, abnormal is > 5.0 ng/mL; for age > 1 year, abnormal is > 4.0 ng/ml. Note new reference
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 TSH
 Cutoff values for TSH are age dependent. For infants < 7 days of age.abnormal is defined as a TSH value >50 ulU/mL: for infants 7
 days or older, abnormal is > 30 ulU/mL.

 GAL
 Abnormal is defined for all infant ages as a total galactose > 20 mg/dl.


  Comments:
 AMENDED REPORT on 3/11/15 - Baby's name was updated per submitter.                       af

 TSH = 36.7 µIU/mL (Abnormal> 30.0)

 In the absence of histological evidence of hypothyroidism, a moderate elevation in TSH in an autopsy blood sample may be the result of
 an autolytic process occurring after death rather than an indication of disease.




 The results of PerkinElmer Genetics post-mortem testing are analytically accurate within the limits of the test technology used. Factors
 including specimen source, quality of specimen and patient variables will affect results. Limited information on reference ranges is
 available. Interpretation of results should be in conjunction with additional clinical or laboratory evidence to help support or disprove the
 presence of a specific disorder.



170HP, IRT, T4 and hTSH • Time-resolved fluoroimmunoassay
Acyl-carnitines, Amino Acids, and Organic Acids • Tandem Mass Spectrometry
Biolinidase, DHPR - Enzymatic colorimetric assay        Hemoglobin - Isa-electric focusing
DNA Mutation Analysis - PCR and allele specific hybridization                                                                              /     /
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 D-                        DOB: -          Age at exam: 2 Y, 7 M Sex: F      MRN: 0002154
 ACC: 5227878              Exam: SKELETAL SURVEY, COMPLETE                   Org: iSite
 02/27/2015 9:45 AM        Ex. Sts: P Report Status: Preliminary             Pert. Resource: POI

 Signs and Symptoms:
 Pt Loe: Phone:


 Attending: SIKIRICA, MICHAEL
 Requesting: SIKIRICA, MICHAEL

 Diagnostic report text


DATE OF EXAM: Feb 27 2015

SKELETAL SURVEY, COMPLETE (Acc#:5227878):

CLINICAL HISTORY: Deceased toddler. Evaluate skeletal system.

RESULT: AP and lateral views of the axial skeleton were obtained with
AP views of the appendicular skeleton. The osseous structures appear
unremarkable without congenital or developmental anomalies. There are no
findings to suggest acute or remote/healing fractures/trauma. The chest is
opacified, consistent with the patient being deceased. There are multiple
air-filled loops of large and small bowel.

IMPRESSION: Normal skeletal survey.



 Responsible & Contributing Providers
 Unassigned, Provider


End of Report for ACC: 5227878




http://isite.amc.edu/isuite/CI inicalExamN otes/CE~88~1J-Jport.asp? Activity HeaderID=402. .. 212712015
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                              DISTRICT ATTORNEY
                            COUNTY OF RENSSELAER
                                        RENSSELAER COUNTY COURTHOUSE
Joel. E. Abelove                                80 Second Street
District Attorney                             TROY, NEW YORK 12180
                           Phone: (518) 270-4040 Fax: (518) 270-4025



     July 20, 2016

     William Roberts, Esq.
     Assistant Public Defender
     Rensselaer County Public Defender's Office
     County Courthouse
     Troy, NY 12180

                           Re:            People v Michael Davis


     Dear Mr. Roberts,

     Attached please find a portion of the grand jury minutes in the above-referenced case that
     I believe constitutes Brady material.


     Yours truly,


          ~
     Cindy B. Chavkin, ADA
     Rensselaer County DA 's Office
     (518) 270-4027




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       SIKIRICA          - INVESTIGATION - DAVIS, 9/29
                                                       /15                                                                      81

                   he         squeezed             the      baby            to        give          it
                   C.P.R.               Did        you      just            say         that             a    few
                   minutes              ago?

                                             THE WITNESS:                            Yes.
                                             GRAND JUROR:                            Did       he
                   testify              to      that?
                                             MS.       HALL:            You           --       your
                  recollection                     recalls.                      I     can't
                                             GRAND JUROR:                            Yes.
                                             MS.     HALL:                       answer                  that
                  for         you.
   BY MS.           HALL:               (Cont'g.}
              Q.              With           respect            to     how Michael                            Davis
  performed                   C.P.R.,            did       you         observe                 that             on    a video
  anywhere?                    A recording?
             A.               Yes.
             Q.               Okay.            And       what          he        was        demonstrating
  on      that          video,          could            that        have             caused                 the
  injuries               in      V              D-?
             A.               What       he     was        demonstrating                            could            have
  caused           the        injuries             on       V_,                  the         squeezing
 effect            to     her        abdomen.                   Yes.
             Q.            What         injury            would             you         see         as        a result
 of     that?



                               JOAN L. BURLEIGH (518)                            767-3030
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         SIKIRICA        - INVESTIGATION - DAVIS, 9/29/15                                                          82


1                  A.           You      would           see     the       tearing         of      the

2        liver.            He            I    saw    he        was     a very        big        man.          He

3        he      had     very       large         hands.             The     liver         would         be

4        torn,         could        be       lacerated           severely,            and        you      could
                                !
5        break         ribs./
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                                DISTRICT ATTORNEY
                              COUNTY OF RENSSELAER
                                    RENSSELAER COUNTY COURTHOUSE
Joel. E. Abelove                            80 Second Street
District Attorney                         TROY,NEWYORK 12180
                              Phone: (5 I 8) 270-4040 Fax: (5 l 8) 270-4025



     July 18, 2016


     Honorable Andrew G. Ceresia
     Rensselaer County Court Judge
     Rensselaer County Courthouse
     Troy, New York 12180

                              Re:     People v Michael Davis
                                      Indictment No. 15-1094


     Dear Judge Ceresia,

     I am hereby requesting that Your Honor grant me authority to release a portion of the
     grand jury minutes of the testimony of Dr. Michael Sikirica to defense counsel as I
     believe it constitutes Brady material.



     Respectfully,



     Cindy B. Chavkin, ADA
     Rensselaer County DA 's Office
                                                                              71,,, ,b    ~o     orrJ.~d'
     (518) 270-4027

     cc:        William D. Roberts, Esq.
                                                                                         f!__,j.~
                Assistant Public Defender
                Rensselaer County Public Defender's Office
                County Court Building
                Troy,NY 12180




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                                DISTRICT ATTORNEY
                              COUNTY OF RENSSELAER
                                    RENSSELAER COUNTY COURTHOUSE
Joel. E. Abclovc                            80 Second Street
District Attorney                        TROY, NEW YORK 12180
                              Phone: (518) 270-4040   Fax: (518) 270-4025



      July 20, 2016

      Honorable Andrew G. Ceresia
      Rensselaer County Court Judge
      Renssselaer County Courthouse
      Troy, New York 12180



                              Re:     People v Michael Davis
                                      Suppression Hearing

      Dear Judge Ceresia,

      As per your Honor's request, I write this letter to inform the Court that the people will not
      be submitting a written argument for the suppression hearing previously held and will
      rely on the record for your Honor·s decision.



      Respectfully,



      Cindy B. Chavkin, ADA
      Rensselaer County DA ·s Office
      (518) 270-4027


     cc         William Robe11s, Esq.
                Assistant Public Defender
                Rensselaer County Public Defender's Office
                Rensselaer County Cou11house
                Troy, New York 12180
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 STATE OF NEW YORK
 COUNTY COURT                                                COUNTY OF RENSSELAER

 THE PEOPLE OF THE STATE OF NEW YORK
                                                      INDICTMENTNO.: 15-1094
        -against-

• MICHAELDAVIS(DOB-
                               Defendant.


COUNTONE

        The Grand Jury of the County of Rensselaer and State of New York, by this

Indictment,    hereby    accuses   the   above-named      defendant of     the   crime    of

MANSLAUGHTER IN THE FIRST DEGREE, a class B felony, in violation of

section 125.20, subdivision 4, of the Penal Law of the State of New York, committed as

follows:

        The defendant, on or about the 26th day of February, 2015, at 856 4th Avenue, in

the City of Troy, County of Rensselaer and State of New York, being eighteen years old

or more and with intent to cause physical injury to a person less than eleven years old, the

defendant recklessly engaged in conduct which created a grave risk of serious physical

injury to such person and thereby caused the death of such person, to wit: at the

aforementioned date and place, the defendant, being eighteen years old or more and with

intent to cause physical injury to a person whose identity is known to the Grand Jury and

having a date of birth of                   the defendant recklessly engaged in conduct

which created a grave risk of serious physical injury to a person whose identity is known

to the Grand Jury and having a date of birth o~d                  thereby caused the death

of a person whose identity is known to the Grand Jury and having a date of birth oflll




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                                                                                      1805
COUNTTWO

        The Grand Jury of the County of Rensselaer and State of New York, by this

Indictment,   hereby    accuses    the   above-named defendant        of   the   crime   of

MANSLAUGHTER IN THE SECOND DEGREE, a class C felony, in violation of

Section 125.15, subdivision 1, of the Penal Law of the State of New York, committed as

follows:

       The defendant, on or about the 26th day of February, 2015, at 856 4th Avenue, in

the City of Troy, County of Rensselaer and State of New York, recklessly caused the

death of another person, to wit: at the aforementioned date and place, the defendant,

recklessly caused the death of a person whose identity is known to the Grand Jury and

having a date of birth o-

COUNT THREE

       The Grand Jury of the County of Rensselaer and State of New York, by this

Indictment,   hereby    accuses   the    above-named defendant of          the   crime of

ENDANGERING THE WELFARE OF A CHILD, a class A misdemeanor, in

violation of section 260.l 0, subdivision 1, of the Penal Law of the State of New York,

committed as follows:
                                                                                 th
       The defendant, on or about the 26th day of February 26, 2015, at 856 4 Avenue,

in the City of Troy, County of Rensselaer and ::;tateof New York, did knowingly act in a

manner likely to be injurious to the physical, mental or moral welfare of a child less than

seventeen years old or directed or authorized such child to engage in an occupation

involving substantial risk of danger to his life or health, to wit: on the aforementioned

date and location the defendant did knowingly act in a manner likely to be injurious to the

physical, mental or moral welfare of a person whose identity is known to the Grand Jury

and having a date of birth o




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                                                    r ~~
 Dated: Troy, New York
        October 2, 2015
                                    ~J.
                                     .JOELE.ABELOVE

- 7k,_,46-i a , 'r
                                      Rensselaer County District Attorney

 Denise Landy
 Grand Jury Foreperson




                                                                   P000033
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 1
        In     the    Matter          of     the      Claim        of:
 2
        MICHAEL DAVIS.
 3
                                                    Claimant,
 4
              -against-
 5
        CITY OF TROY and                     COUNTY OF RENSSELAER,
 6
                                                    Respondent.
 7

 8

 9                             STENOGRAPHIC MINUTES OF DEPOSITION                                         conducted

10      of     Claimant,             MICHAEL DAVIS,                 pursuant           to      Article         50-H      of

11      the      General        Municipal              Law,        on March           30,      2017,      at      the

12      offices           of   Pattison             Sampson,             22 First           Street,       Troy,         New

13      York,        commencing              at     11:35       a.m.;        before          ELLEN J.

14      FRANKOVITCH, a Shorthand                              Reporter          and     Notary           Public

15      within        and      for     the         State      of    New York.

16

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                                 (Michael               Davis        - March            30,         2017)


 1      Q.    So that             was          some      months           after         the         baby's          death;

 2            correct?

 3      A.    Yes,        sir.

 4      Q.    And Michael,                      do you           remember            who arrested                     you,

 5            actually?                      Was it         Troy         police         officers               or     was      it

 6            sheriff's                     deputies          or    state          police?

 7      A.     It     was        the         Troy       police           officers,                 I believe.                The

 8            detective,                     Detective             Fountain             and         McDarrell          ...

 9      Q.    McDonald.

10      A.    McDonald.

11      Q.    Okay.           And you                were        arraigned              in         police       court,              were

12            you      not?

13      A.    Yes,        sir.

14      Q.    And I think                      --    and      you        again       can           correct          me if           I am

15            wrong         --         you      were        committed              to    jail           in     lieu      of

16            bail?

17      A.    Yes.

18      Q.    How long                 --      withdrawn.

19                        Did          there         come        a time           when        you      were         released

20            on bail?

21      A.    No.         I wasn't                  given        bail.

22      Q.    When did                 the      trial         commence?

23      A.    When did                 it      come      to      an end?

24                                           MR. KLEIN:                  When did             it      start.


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                               (Michael                  Davis          - March           30,      2017)


 1      BY MR. SHANLEY:

 2      Q.    When did               it         start?              You don't             have        to      give      me the

 3            exact       date.                  What          month?

 4      A.    Roughly,               I would                  say ...       I don't             recall         the      exact

 5            month       that             it        started,            but       I would            say      around

 6            August,           if         I'm         not        mistaken.

 7      Q.    August           of         2016?

 8      A.    August           of         2016.

 9      Q.    So were           you             in     jail         from        October          2,      2015,        to    August

10            of     2016?

11      A.    Yes,      sir.

12      Q.    Was bail               ever            set?

13      A.    No,      I was              never          given          bail.            The     judge         just        told

14            me,      no bail.

15                                         MR. KLEIN:                    He's       just         asking          yes       or     no;

16                      okay?                   Just        take        your       time.

17                                         MR. SHANLEY:                         That's         okay.           I was

18                      interrupting.

19      Q.    Was there               ever             a bail           hearing,           Mike?

20      A.    Yes.

21      Q.    Trying         to       accept                bail?

22     A.     Yes.

23      Q.    Where      was          that?                  In     county         court         or      in    police

24            court?


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                               (Michael            Davis          - March             30,         2017)


 1      A.     I believe           in      county           court.

 2      Q.    County           court?            Do you           remember                 the     judge's            name?

 3      A.     It    was       Ceresio,            I believe.

 4      Q.    Ceresia?             Andrew?

 5      A.    Yes.         He was          my judge               the         whole         time.

 6      Q.    Okay,        and     he      refused           to         set        bail?

 7      A.    Yes,      sir.

 8      Q.    Okay.            Now,      you      had       the         public             defender,               didn't

 9            you?

10      A.    Yes,      I did.

11      Q.    Was that            William           Roberts?

12      A.    Yes,      sir.

13      Q.    He tried            the      case,        didn't                he?

14      A.    Yes,      sir.

15      Q.    How long            did      the      trial          last,            approximately?

16      A.    Picking           a jury           and    everything,                        probably               a week,        I

17            would        say.          Not      longer           than            that.

18      Q.    And then            the     verdict            came             in    and          you    were        then

19            released;            correct?

20      A.    Yes.

21      Q.    Okay.         Now,         working            with         Mr.        Roberts,                did     you

22            review        any         statements             by any               of      the        Troy        officials?

23                                    MR. KLEIN:                   I'm         just         going           to     note     an

24                      objection.                  I know Mr.                     Shanley             is    not      asking


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                                (Michael        Davis        - March            30,      2017)


 1                      minutes.

 2      BY MR. SHANLEY:

 3      Q.    All      right.           And then           there        came          a time            when     you

 4            left      the       house        and    ran     across            to     a friend's              house,

 5            Willie           Robinson?

 6      A.    Willie           Robinson.

 7      Q.    He wasn't            home;        you       couldn't         get         an answer.

 8      A.    No,      he was          working.

 9                                     MR. KLEIN:             So the            answer            is:       Yes,       he

10                      wasn't          home and           you       couldn't            get       an answer?

11                                     THE WITNESS:                Yes.

12                                     MR. KLEIN:             Okay,        so         just        answer       the

13                      question.

14      BY MR. SHANLEY:

15      Q.    He was           working.           That       answers            the      question;             he

16            wasn't           home.       Right?

17      A.    Yes.

18      Q.    Then      there          came     a time        when        you         went        to     Testo's?

19     A.     Yes,      sir.

20      Q.    Now,      that       is     an    Italian          restaurant                  --    or

21            Italian-American                    restaurant,              located                on the       corner

22            of     124th        and     Fourth?

23     A.     Yes,      sir.

24      Q.    That      would          be directly            across        the          street           from      where


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                               (Michael             Davis      - March              30,       2017)


 1            you     lived?

 2      A.    More      of     a diagonal.

 3      Q.    Okay.          And were               they      open        at    the        time,       Michael?

 4      A.    Yes.

 5      Q.    And you          went          in?

 6      A.    Yes.

 7      Q.    And did          you      talk          to    someone            in     there?

 8      A.     I went        right           to     the     counter            at     first        and     asked      for

 9            a phone.               They          said     they      didn't              have     a landline.

10            So I asked               the         worker      who was              sitting           in   a chair,

11            can     I use          your          cell     phone.

12      Q.    Okay,      and         you      called          911?

13      A.    Yes.

14      Q.    Were      you      connected?

15      A.    Yes.

16      Q.     Do you        recall,               Michael,          in    words           or    substance,

17            whether          you      told          them     that        there           was     a baby      that

18            had     stopped           breathing?

19      A.    Yes.

20      Q.     Did    they       respond              to    the ...

21      A.    They      did.           They         just      --

22                                     MR. KLEIN:                  Did     they           respond?

23                                     THE WITNESS:                   Yes.

24


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                               RENSSELAERCOUNTY CIVILSERVICECOMMISSION

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                                   TROY POLICE DEPARTMENT
                                     INVESTIGATION REPORT
VICTIM'SNAME:                           REPORTDATE:                INCIDENTNUMBER:       DBNUMBER:
Suspicious Death Inv                    03-01-15                   20320-15



                                         NARRATIVE
                              th
      I/Os responded to 856 4 Ave for a child death call. Upon arrival saw a Female and
     Male subject sitting on fron step of residence. I/O was briefed by Ptls Rasmussen and
     Coonradt to the specifics 2 ½ year old female vi transported to St Mary's hospital by
     TFD believed un responsive. I/Os spoke with s~bject sitting in front ofresidence both
     were very quiet when introduced to us \)y patrol. Subject one and caretaker of child
     during time of death was a Michael L Davis-Guider(•••and           Mother of Victim was
     Rebecca Parker j        , . Both were asked to come to station and talk with I/Os. Both
     agreed Davis-Guider rode with I/Os in front seat due to his size. Female Parker was
    driven to CS by Ptl Rasmussen in front seat of his patrol car. Upon arrival at CS Davis-
    Guider was in Det CP Mcdonalds office and Parker was in 2nd floor DB office. 1/0 was
    then notified that 2 ½ year old~          DIii-           had passed. I/O then informed
    Parker who was brought to St Marys hospital. I/Os then spoke with Davis-Guider in
    McDonalds Office.Notes taken on Days events at 856 4tliAve. Only people at 856 4th
          st
    Ave 1 Floor were Davis-Guider and Viola Parker from 0830 hours to aprox 1PM.
                                                                    Vo then applied or a search
                                th      st
    warrant of residence 856 4 Ave 1 floor. Also permission to search apt. was granted and
    signed by Davis-Guider. Search warrant was executed ETs Buttafuoco and Marble
   processed scene. ET reports are available. I/O along with Sgt T Colaneri also at scene
   during ET processing.                   I/Os then again spoke with Davis-Guider who bad
   been sitting with Mcdonald during search warrant execution. Davis-Guider then left
                1
   station with with Parker they were picked up by Russell Brown. 2-27-15 I/Os
   responded to AMC for Autopsy also present were Sgt T Colaneri ET Buttafuoco ADA A
   Ackerman. Dr M Sickirika performed Autopsy with his staff. Results to follow.
                   Aprox 1PM I/Os stopped at residence on 4 th Ave to speak with Parker and
   Davis-Guider they were present also Parkers Mother Nancy Parker and Aunt Mercedes
   Hall-Chestaro were present. Again asked Davis-Guider a couple of questions and also
   answered questions pertaining to child and next steps in process. I/O advised family and
   Davis-Guider that we could meet Monday 3-2-15 and go over entire incident all agreed to
   meet at police station 3-2-15.




   DETECTIVEASSIGNED                                 •1soR APPROVAL               PAGENUMBER
   Fountain/CP Mcdonald

   CASE STATUS:




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 NEWS


 Joseph McElhenyacquittedof
 manslaughterand murder in death
 of his 4-month-olddaughter

 By SARATOGIAN I news@saratogian.com I
 PUBLISHED: October 12, 2011 at 7:07 a.m. I UPDATED: July 22, 2021 at 5:01 a.m.
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 TROY - After close to 35 hours of deliberation, jurors acquitted Joseph McElheny
 on eight of nine charges Wednesday in the May 2010 death of his 4-month-old
 daughter Ina. Jurors found McElheny, 32, of Hoosick Falls, not guilty of murder,
 manslaughter, criminal negligence, reckless endangerment and four counts of
 assault. After six hours of deliberation Wednesday and a request to hear the
 definition of the charge, jurors remained deadlocked on the final count,
 endangering the welfare of a child, leading Judge Andrew Ceresia to declare a
 mistrial on that charge. The prosecution and defense will meet next week to
 discuss how to proceed on that count, a misdemeanor. District Attorney Richard
 McNally said that it would most likely be dropped, as McElheny has already served
 more than a year in prison, the maximum sentence for a conviction on that charge.
 As the jury foreman read each "Not guilty" verdict, McElheny's family, who were
 present every day of the nearly month-long trial, wept with joy. One family member
 whispered to another, "It's over," wiping away tears. After Ceresia declared
 McElheny be released, McElheny bear-hugged his attorney, Gregory Cholakis,
 and embraced his wife, Melinda. Outside the courtroom, Melinda McElheny sang
 the defense's praises and said in a written statement that its medical witnesses
 helped discredit what she called an "epidemic" of parents being wrongly accused
 of child abuse. "Parents are being targeted, often at the worst moments in their
 lives, by overzealous police and child protective investigators," McElheny said.
 ''These investigators use the parents' grief and the memories of their children to
 coerce them into making statements of self-implication. Most often, the parents
 want answers even more than authorities do. Instead, what they get are
 accusations and blame. None of this would be possible without the medical
 establishment standing by and doing nothing. This is a discussion we all should be
 having as a society .... We need to shine a light on child abuse, but not at the
 expense of tearing apart innocent families, and not with a blind eye toward the
 injustice that results from jumping to conclusions." The couple has another
 daughter, Murphy, born in April, who was seized the day after she was born by the
 Vermont Department of Children and Families pending the outcome of this trial.
 Asked for her immediate reaction to her husband's acquittal, McElheny said it was
 "great." "I need to go pick him up," she said with a smile. Prosecutors claimed that
 McElheny repeatedly abused Ina throughout her short life, breaking 18 of her
 hones and administering a blow that led to a fatal abdominal infection. The
 defense argued that Ina suffered from a host of medical conditions, including
 rickets and an intestinal disorder known as intussusception, that caused her
 injuries and ultimately the torn bowel which initiated her infection. Dueling medical
 witnesses attempted to bolster each of those theories, but juror Nathaniel Ekstrom
 said it was the testimony of both Joseph and Melinda McElheny that had the
 biggest impact. Seeing how Ina's parents conducted themselves on the stand
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 played a large part in his decision to find Joseph McElheny not guilty, Ekstrom
 said, as well as the video evidence of Ina herself. "She never seemed to be in any
 discomfort," he said. "There was never ... any clear evidence that she was in pain
 or being mistreated." Cholakis also cited the videos as one of the strongest points
 in his case, adding that that visual evidence coupled with numerous character
 witnesses who extolled on the virtues of McElheny's parenting helped his client
 walk free. He said that Joseph and Melinda McElheny have "maintained an
 incredible dignity" throughout the last 17 months. "Can you imagine, you haven't
 even buried your child, and you can't stop for five minutes to even grieve about it
 because you have the threat of indictment hanging over your head from day one?"
 Cholakis said. As for that indictment, McNally said he stood by his office's actions.
 Commenting on the length of the jury's deliberation - the longest he'd seen in his
 22 years as an attorney - McNally said in cases where medical evidence is the
 biggest form of proof, juries often struggle to process it all. "We did the right thing,
 and we believe we did the right thing. We understand what our burden is and what
 our obligations are, and we felt that we had met those," he said. " ... The jury saw
 the proof not sufficient to convict, and we respect that. And that's our system, and I
 make no excuses for that." The prosecution and defense will meet again Tuesday
 morning to determine the course of action on McElheny's remaining charge.



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How manytimes havewe fallen for this?


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             BROWSE CASES      ISSUES       RESOURCES      ABOUT US                                      MAKE A GIFT




                                                                                          State:             New York
 ADRIAN             THOMAS
                                                                                          County:            Rensselaer
 Other New York False Confession Cases
                                                                                          Most Serious       Murder
                                         On September 21, 2008, four-month-old            Crime:
                                 7 Matthew  Thomas's parents found him limp
                                   and unresponsive in his bed in Troy, New               Additional
                                          York. Matthew's mother, Wilhelmina Hicks,       Convictions:
                                          accompanied emergency personnel who
                                          took him to Samaritan Hospital in Troy.         Reported           2008
                                          Matthew's father, 26-year-old Adrian            Crime Date:
                                          Thomas, remained home with the couple's
 I Thomas and dd'ense awyer S ephen     I six other children.                             Convicted:         2009
      ffey                        __J
                                   An initial diagnosis of septic shock was               Exonerated:        2014
 made, although head injuries were not ruled out. Matthew was treated with
 antibiotics and then transferred to the pediatric intensive care unit at Albany          Sentence:          25 to life
 Medical Center in Albany, New York. The treating physician in Albany
 believed there was a cranial fracture and concluded that the baby was a                  Race/Ethnicity: Black
 victim of blunt force trauma.
                                                                                          Sex.:              Male
 Police went to Thomas's home and removed the other children to child
 protective services. Thomas was taken to the police station for questioning.             Age at the         26
 After about 2 hours, Thomas expressed suicidal thoughts and was taken to a               date of
 hospital. He was returned to the police station 15 hours later, on September             reported
 22, and police resumed questioning him.                                                  crime:

 By the time the second portion of the interrogation began, Matthew had                   Contributing       False Confession,
 died. The detectives, however, told Thomas that Matthew was alive and that               Factors:           False or
 the only way to save Matthew's life was for him to tell them what he had                                    Misleading
 done to Matthew. When Thomas said he had accidentally dropped Matthew                                       Forensic Evidence,
 five or six inches into his crib about 10 to 15 days earlier, a detective entered                           Official
 the interrogation room and said that based on his experience with head                                      Misconduct
 injuries in the military in Operation Desert Storm, he knew that Thomas
 was lying. The detective said that the child's head injuries were consistent             Did DNA            No
 with the type of injuries suffered in a high speed auto collision.                       evidence
                                                                                          contribute to
 After that detective left, other detectives suggested to Thomas that perhaps             the
 he had been depressed, emotionally overwhelmed, upset after his wife                     exoneration?:
 berated him for chronic unemployment and acted out of frustration and
 hurled the child to the mattress. Eventually, Thomas was persuaded to re-
 enact what the police believed he did, using a clipboard to stand in for the
 baby.

 Thomas was charged with murder on September 22, based on his statement
 during the seven hour interrogation that he slammed Matthew down on a
 mattress on three occasions, including the day before Matthew died. Almost
 immediately after he was charged, Thomas recanted to his defense attorney
 saying he did not harm Matthew.

 Prior to trial, Thomas's attorney filed a motion to suppress the confession
 on the ground that it was coerced. The trial judge denied the motion and
 Thomas went to trial in Rensselaer County Supreme Court in October 2009.

 The medical examiner who performed Matthew's autopsy, an expert on
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child abuse, and the treating physicians at Albany Medical Center testified
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for the prosecution. They cited radiologic and post-mortem findings of
subdural fluid collections, brain swelling and retinal hemorrhaging as the
cause of Matthew’s death. According to their testimony, the initial finding of
a cranial fracture was incorrect—there was no fracture. The prosecution
played portions of Thomas’s videotaped interrogation, during which
Thomas, who weighed more than 300 pounds, demonstrated how he raised
Matthew above his head and forcefully threw him down onto a low mattress.

A pathologist and an infectious disease physician testified for the defense
that based on their examination of the medical records, Matthew, who was
born prematurely, had died of sepsis—a bacterial infection that invades the
entire body.

On October 22, 2009, a jury convicted Thomas of murder. He was
sentenced to 25 years to life in prison.

In March 2012, the Appellate Division of the New York Supreme Court
rejected defense claims that the confession was coerced and upheld
Thomas’s conviction.

Also in March, 2012, filmmakers Blue Hadeagh and Grover Babcock released
a documentary film that critically examined the interrogation of Thomas
and went on to win numerous awards. (A trailer for the film, “Scenes of a
Crime,” can be viewed here: http://scenesofacrime.com/)

In February 2014, the New York Court of Appeals vacated Thomas’s
conviction and ordered a new trial. The Court of Appeals ruled that the
interrogation was “highly coercive” and that Thomas’s statements were
involuntary.

The Court of Appeals pointed to portions of the interrogation where
detectives told Thomas that Matthew’s injuries were so severe that they
could only have been inflicted by an adult and that if he had not harmed the
child, his wife must have done it. The detectives threatened to arrest Hicks,
Thomas’s wife, if he did not admit to harming Matthew.

“By the end of the initial two-hour interrogation, (Thomas) agreed to ‘take
the fall’ for his wife,” the Court noted. Thomas denied harming Matthew
and did not believe his wife had done so either, but said he would take
responsibility to protect her.

The appeals court noted that detectives told Thomas more than 20 times
that “his disclosure of the circumstances under which he injured his child
was essential to assist the doctors attempting to save the child’s life.” The
court said, “These falsehoods were coercive…”

The court also criticized the detectives’ repeated promises that “whatever
had happened was an accident, that he could be helped if he disclosed it all,
and that, once he had done so, he would not be arrested, but would be
permitted to return home.”

“It is plain that (Thomas) was cajoled” into the re-enactment, the Court of
Appeals held. The Court found that if there had been only a few deceptive
reassurances, there would be a question of whether the confession was
coerced. But, the Court noted, in fact Thomas was told 67 times that what
had been done to the baby was an accident, 14 times that he would not be
arrested and eight times that he would be going home.

Thomas went to trial a second time in May 2014. Without the confession or
the testimony of the detectives who interrogated Thomas, the prosecution
relied primarily upon the testimony of the physicians who said the baby had
suffered blunt force trauma.

The defense presented the pathologist and infectious disease physician who
had testified in the first trial and, for the first time, the testimony of Patrick
Barnes, a Stanford University physician who has testified extensively about
brain trauma in children. Barnes examined the radiologic reports and
concluded that the trauma that prosecution physicians diagnosed as recent
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 based on brain bleeding was in fact not recent and was consistent with a
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 diagnosis of sepsis.

 On June 12, 2014, the jury acquitted Thomas and he was released. In June
 2016, Thomas filed a claim for compensation with the New York Court of
 Claims.

 – Maurice Possley


 Report an error or add more information about this case.


 Posting Date: 6/21/2014
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Center on Wrongful Convictions at Northwestern University School of Law. The Registry        exonerations.
provides detailed information about every known exoneration in the United States since
1989 cases in which a person was wrongly convicted of a crime and later cleared of all the     Tell us about an exoneration that we may have
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